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                                                                10   FACEBOOK, INC.

                                                                11
                           Los Angeles, California 90071-2627




                                                                                               UNITED STATES DISTRICT COURT
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




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                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                          OAKLAND/SAN FRANCISCO DIVISION
                                                                14
                                                                     FACEBOOK, INC., a Delaware                  CASE NO.: 3:20-CV-07182
                                                                15   corporation,
                                                                                                                 COMPLAINT; DEMAND FOR JURY
                                                                16                                               TRIAL
                                                                                  Plaintiff,
                                                                17
                                                                18         v.

                                                                19   BRANDTOTAL LTD., an Israeli
                                                                20   corporation, and UNIMANIA, INC., a
                                                                     Delaware corporation,
                                                                21
                                                                22                Defendants.

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                                                                1          Plaintiff Facebook, Inc. (“Facebook”) alleges the following:
                                                                2                                     INTRODUCTION
                                                                3          1.     Between September 2019 and October 1, 2020, Defendants BrandTotal
                                                                4    Ltd. (“BrandTotal”) and Unimania, Inc. (“Unimania”) developed and distributed
                                                                5    internet browser extensions (“malicious extensions”) designed to improperly collect
                                                                6    data from Twitter, YouTube, LinkedIn, Amazon, Facebook, and Instagram. Defendants
                                                                7    distributed the malicious extensions on Google’s Chrome Web Store. Anyone who
                                                                8    installed one of Defendants’ malicious extensions essentially self-compromised their
                                                                9    browsers to run automated programs designed to collect data about its user from specific
                                                                10   websites. As to Facebook and Instagram, when a user visited those sites with a self-
                                                                11   compromised browser, Defendants used the malicious extensions to connect to
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                                                                12   Facebook computers and collect or “scrape” user profile information (including name,
                                                                13   user ID, gender, date of birth, relationship status, and location information),
                                                                14   advertisements and advertising metrics (including name of the advertiser, image and
                                                                15   text of the advertisement, and user interaction and reaction metrics), and user Ad
                                                                16   Preferences (user advertisement interest information).      Defendants used the data
                                                                17   collected by the malicious extensions to sell “marketing intelligence,” and other
                                                                18   services through the website brandtotal.com. Defendants’ conduct was not authorized
                                                                19   by Facebook.
                                                                20         2.     Beginning no later than October 3, 2020, after Plaintiff revoked
                                                                21   Defendants’ access to its service and Google removed the malicious extensions from
                                                                22   Google’s Chrome Web Store, BrandTotal’s Chief Product Officer (“CPO”) created a
                                                                23   new Facebook and Instagram account. Furthermore, on or about October 12, 2020,
                                                                24   Defendants published a new malicious extension on Google’s Chrome Web Store
                                                                25   designed to scrape Facebook.      Facebook brings this action to stop Defendants’
                                                                26   violations of Facebook’s and Instagram’s Terms and Policies, the Computer Fraud and
                                                                27   Abuse Act, 18 U.S.C. § 1030 (the “CFAA”) and the California Comprehensive
                                                                28   Computer Data Access and Fraud Act, California Penal Code § 502. Facebook also

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                                                                1    brings this action to obtain damages and disgorgement for breach of contract and unjust
                                                                2    enrichment.
                                                                3                                           PARTIES
                                                                4            3.    Plaintiff Facebook, Inc. is a Delaware corporation with its principal place
                                                                5    of business in Menlo Park, San Mateo County, California. Instagram is a subsidiary
                                                                6    and product of Facebook.
                                                                7            4.    Defendant BrandTotal Ltd. was incorporated in Israel on November 20,
                                                                8    2016, and on information and belief, is headquartered in Israel. Ex. 1. BrandTotal Ltd.
                                                                9    has a subsidiary named BrandTotal Inc. that was incorporated in Delaware on
                                                                10   November 13, 2017, has an office in New York, New York, and sells BrandTotal’s
                                                                11   services in the U.S. Exs. 2 – 4. BrandTotal operates the website brandtotal.com, where
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                                                                12   it sells marketing intelligence through its software-as-a-service platform.        Ex. 5.
                                                                13   BrandTotal controls the malicious extension named “UpVoice” that was used to scrape
                                                                14   data from social media services. BrandTotal distributed the malicious extension on
                                                                15   Google’s Chrome Web Store under the developer name “UpVoice.” Ex. 6. Despite its
                                                                16   scraping practices, BrandTotal received approximately $8 million in venture capital
                                                                17   funding between 2017 and 2018. Ex. 7.
                                                                18           5.    Defendant Unimania, Inc. was incorporated in the State of Delaware on
                                                                19   November 27, 2017. Ex. 8. Unimania developed and distributed the malicious
                                                                20   extension named “Ads Feed” on Google’s Chrome Web Store. Ex. 9.              Unimania’s
                                                                21   website, unimania.xyz, consists of only a landing page. Ex. 10. In May 2018, AdGuard
                                                                22   Research reported that Unimania browser extensions for Chrome were designed to
                                                                23   scrape data from Facebook.         See https://adguard.com/en/blog/unimania-spyware-
                                                                24   campaign.html. Those extensions were removed from Google’s Chrome Web Store in
                                                                25   2018.
                                                                26           6.    Defendants shared common employees and agents.              For example,
                                                                27   BrandTotal’s CPO and General Manager (Ex. 5), created Facebook accounts in the
                                                                28

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                                                                1    name of Unimania and the Ads Feed extension. BrandTotal’s Chief Technology Officer
                                                                2    and co-founder (Ex. 5) also administered Unimania accounts on Facebook.
                                                                3                                JURISDICTION AND VENUE
                                                                4          7.     The Court has federal question jurisdiction over the federal causes of
                                                                5    action alleged in this Complaint pursuant to 28 U.S.C. § 1331.
                                                                6          8.     The Court has supplemental jurisdiction over the state law causes of action
                                                                7    alleged in the Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out
                                                                8    of the same nucleus of operative facts as Facebook’s federal claim.
                                                                9          9.     Defendants had multiple Facebook accounts and thereby agreed to
                                                                10   Facebook’s Terms of Service and Commercial Terms.               The Court has personal
                                                                11   jurisdiction over Defendants because Facebook’s Commercial Terms contain a forum
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                                                                12   selection clause that requires this complaint be brought in the U.S. District Court for the
                                                                13   Northern District of California or a state court located in San Mateo County, and that
                                                                14   Defendants submit to the personal jurisdiction of either of those courts for litigating this
                                                                15   matter.
                                                                16         10.    Defendants also agreed to the Instagram Terms of Use. The Instagram
                                                                17   Terms of Use contain a forum selection clause that requires this complaint be resolved
                                                                18   by this Court, and that Defendants submit to the personal jurisdiction of this Court.
                                                                19         11.    Additionally, the Court has personal jurisdiction over Defendants because
                                                                20   they knowingly directed and targeted their conduct at California and at Facebook, which
                                                                21   has its principal place of business in California. Defendants also transacted business
                                                                22   and engaged in commerce in California by, among other things, distributing malicious
                                                                23   extensions to California-based Facebook and Instagram users and using California-
                                                                24   based services during their data harvesting scheme.
                                                                25         12.    By agreeing to the forum selection clause in the Facebook Terms of
                                                                26   Service and Instagram Terms of Use, Defendants agreed that this Court is the proper
                                                                27   venue for this matter.
                                                                28

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                                                                1                                  FACTUAL ALLEGATIONS
                                                                2          A.     Background on Facebook and Instagram
                                                                3          13.    Facebook is a social networking website and mobile application that
                                                                4    enables its users to create their own personal profiles and connect with each other on
                                                                5    their personal computers and mobile devices. As of August 2020, Facebook daily active
                                                                6    users averaged 1.79 billion and monthly active users averaged 2.7 billion. Facebook
                                                                7    has several products, including Instagram. Facebook owns and operates the Instagram
                                                                8    service, platform, and computers.
                                                                9          14.    Instagram is a photo and video sharing service, mobile application, and
                                                                10   social network. Instagram users can post photos and videos to their profiles. They can
                                                                11   also view and comment on posts shared by others on Instagram.
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                                                                12         15.    To create a Facebook or Instagram account, Facebook requires users to
                                                                13   register with a unique username and password. Registered users can create user profiles
                                                                14   and include information about themselves, including email addresses, phone numbers,
                                                                15   date of birth, and gender.
                                                                16         16.    Anyone with a Facebook or Instagram account can create and place ads on
                                                                17   Facebook and Instagram. Every week, users and businesses create millions of ads
                                                                18   through Facebook’s ad platform, which provides advertisers with many options for
                                                                19   reaching audiences.
                                                                20         B.     Facebook’s Ad Library
                                                                21         17.    The          Facebook           Ad         Library          (available             at
                                                                22   https://www.facebook.com/ads/library) allows anyone to search and view ads published
                                                                23   on Facebook or Instagram. It was first created as the Political Ad Archive in May 2018.
                                                                24   The current version was made public in March 2019 and expanded the scope of the
                                                                25   library to include all active ads running in all countries and inactive ads if the ad is about
                                                                26   social issues, elections or politics. Ads from the latter category will be in the library for
                                                                27   up to 7 years. Only ads that have been viewed by a Facebook or Instagram user will
                                                                28   appear in the library.

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                                                                1            18.   The Ad Library displays information about the Facebook Page responsible
                                                                2    for running the ads. The “page transparency” section in the library displays the creation
                                                                3    date of the Page, Page name changes, mergers with other Pages, and total spent by the
                                                                4    Page on social issues, elections or politics.
                                                                5            19.   The library is also searchable. Ads can be searched using a key word and
                                                                6    results display the text and image used in the ad. Results can further be filtered by
                                                                7    geographic region, platform, number of users that viewed the ad, and views on a
                                                                8    particular day.
                                                                9            20.   The library does not contain information about the specific users who
                                                                10   viewed an ad or a user’s reaction or interactions with an ad. Therefore, a user’s name,
                                                                11   ID, date of birth, gender, relationship status, location information, and Ad Preferences
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                                                                12   are not available in the Ad Library. Similarly, the number of comments, likes, user
                                                                13   shares, and other user interaction or reactions are not publicly available in the Ad
                                                                14   Library.
                                                                15           C.    Facebook and Instagram Terms and Policies
                                                                16           21.   All Facebook users must agree to Facebook’s Terms of Service (available
                                                                17   at https://www.facebook.com/terms.php) and other rules that govern access to and use
                                                                18   of Facebook, which may also include the Facebook Commercial Terms 1 (collectively,
                                                                19   “Facebook Terms and Policies”).
                                                                20           22.   Everyone who uses Instagram agrees to Instagram’s Terms of Use and to
                                                                21   other rules that govern access to and use of Instagram, including Instagram’s
                                                                22   Community Guidelines and Platform Policy (collectively, “Instagram Terms and
                                                                23   Policies”).
                                                                24           23.   Instagram’s Terms of Use and Section 3.2.1 of the Facebook Terms of
                                                                25   Service prohibit users from “do[ing] . . . anything unlawful, misleading, [ ] or
                                                                26   fraudulent” or facilitate or support others in doing so.
                                                                27
                                                                28   1
                                                                         Facebook Commercial Terms apply to access and use of Facebook and Facebook
                                                                         Products for any business or commercial purpose.
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                                                                1          24.    Section 3.2.2 of the Facebook Terms of Service prohibits users from
                                                                2    “do[ing] anything that could . . . impair the proper working or appearance of [Facebook]
                                                                3    Products.”
                                                                4          25.    Instagram’s Terms of Use also prohibit users from “do[ing] anything to
                                                                5    interfere with or impair the intended operation of the [Instagram] Service.”
                                                                6          26.    Section 3.2.3 of the Facebook Terms of Service prohibits “access[ing] or
                                                                7    collect[ing] data from [Facebook] Products using automated means (without our
                                                                8    permission) or attempt[ing] to access data you don’t have permission to access.”
                                                                9          27.    The Instagram Terms of Use also prohibit (a) “access[ing] or collect[ing]
                                                                10   in unauthorized ways . . . [including] collecting information in an automated way
                                                                11   without our express permission;” and (b) “violat[ing] someone else’s rights, including
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                                                                12   intellectual property rights.”
                                                                13         D.     Background on Scraping
                                                                14         28.    “Web scraping” refers to the process of extracting data from a website
                                                                15   interface by using unauthorized automated means, such as specialized tools and
                                                                16   software. Websites, including the official Facebook site, are designed for human end-
                                                                17   users and not for automated use, and employ anti-scraping measures to prevent and
                                                                18   detect web scraping.
                                                                19         29.    Automation tools and software are necessary for scraping. Facebook
                                                                20   employs a number of measures to detect and disrupt unauthorized automated requests
                                                                21   on its systems, including monitoring use patterns that are inconsistent with a human
                                                                22   user, CAPTCHA, and disabling of accounts engaged in automated activity.
                                                                23         30.    When scrapers extract the desired data, they often restructure and format
                                                                24   it, and save and store it for further use, such as lead generation, pricing competition, and
                                                                25   ads optimization.
                                                                26         E.     Background on Internet Browser Extensions
                                                                27         31.    Internet browsers, such as Google Chrome, Opera, and Firefox, are used
                                                                28   to access the internet. Internet browsers follow instructions from websites, in computer

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                                                                1    code, to render and display a website’s content for users to see. Website content is
                                                                2    largely delivered in HTML code. Internet browsers are designed to render the HTML
                                                                3    code and display it in images and text for the user’s screen.
                                                                4          32.    Internet browser extensions are software components that alter a browser’s
                                                                5    functionality. Browser extensions can be installed to enhance user experience and the
                                                                6    functionality of the browser. For example, a browser extension can block pop-up ads.
                                                                7          33.    Browser extensions can also be used in illicit ways. Browser extensions
                                                                8    can be coded to access the full array of information available to the browser and its
                                                                9    functionalities. For example, a browser extension can be designed to monitor a user’s
                                                                10   browsing session, manipulate how the content of visited websites is displayed, and take
                                                                11   other unauthorized actions.
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                                                                12         34.    Browser extensions are available for download by users from online
                                                                13   browser stores, which are often managed by the browser developer (i.e., Google’s
                                                                14   Chrome Web Store). In order for a browser extension to install, the user typically must
                                                                15   grant permissions for the extension to download and install on the user’s device.
                                                                16         F.     Defendants Accepted Facebook’s and Instagram’s Terms and
                                                                17                Policies
                                                                18         35.    At all relevant times, Defendants were bound by Facebook’s and
                                                                19   Instagram’s Terms and Policies.
                                                                20         36.    BrandTotal, through its agents and employees, created a Facebook account
                                                                21   in the name of “BrandTotal Analytics” on or about June 13, 2017, and a BrandTotal
                                                                22   Instagram account on or about December 5, 2016. BrandTotal also created a Facebook
                                                                23   business account on or about February 21, 2017.
                                                                24         37.    On or about September 3, 2019, BrandTotal, through its agents and
                                                                25   employees, created a Facebook business account for UpVoice. On or about June 8,
                                                                26   2020, BrandTotal, through its agents and employees, created a Facebook business
                                                                27   account named UpVoiceUS.
                                                                28

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                                                                1          38.    On July 4, 2018, Unimania, through its agents and employees, created a
                                                                2    Facebook business account in the name of Unimania.
                                                                3          39.    Between 2017 and 2019, Defendants’ employees and agents created and
                                                                4    administrated three Facebook Pages. The Pages were used to promote both malicious
                                                                5    extensions and BrandTotal’s marketing service.
                                                                6          40.    Between July 2018 and June 2020, Defendants’ employees and agents
                                                                7    created and controlled seven Facebook advertising accounts.           Defendants used
                                                                8    Facebook to promote both malicious extensions and BrandTotal’s marketing service as
                                                                9    set forth in Figures 1 and 2.
                                                                10   Figure 1: BrandTotal Advertisement on              Figure 2: UpVoice Extension
                                                                11                 Facebook                             Advertisement on Facebook
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                                                                           41.    As explained below, BrandTotal’s CPO created a new Facebook and
                                                                27
                                                                     Instagram account after the above described accounts were disabled.
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                                                                1          G.     Defendants Used at Least Two Malicious Browser Extensions to
                                                                2                 Scrape Facebook Until October 1, 2020
                                                                3                 1.    Overview
                                                                4          42.    Between September 2019 and October 1, 2020, Defendants developed and
                                                                5    distributed at least two malicious extensions called UpVoice and Ads Feed. Defendants
                                                                6    distributed the malicious extensions on Google’s Chrome Web Store. Exs. 6 and 9.
                                                                7    Since September 2019, the malicious extensions have been installed by thousands of
                                                                8    users. These malicious extensions were programmed to scrape data from various
                                                                9    websites and deliver it to Defendants.
                                                                10         43.    BrandTotal enticed users to install the UpVoice extension from Google’s
                                                                11   Chrome Web Store by offering payments in exchange for installs, in the form of online
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                                                                12   gift cards, and claiming that the users who installed the extension became “panelists …
                                                                13   [who] impact the marketing decisions and brand strategies of multi-billion dollars (sic)
                                                                14   corporations.” Ex. 6.
                                                                15         44.    Similarly, Unimania promoted its Ads Feed extension on Google’s
                                                                16   Chrome Web Store by claiming that the users became “a panel member of an elite
                                                                17   community group that impacts the advertising decisions of multi-billion dollar
                                                                18   corporations!” Ex. 9.
                                                                19         45.    Once installed by the users, however, Defendants used the users’ browsers
                                                                20   as a proxy to access Facebook computers, without Facebook’s authorization, meanwhile
                                                                21   pretending to be a legitimate Facebook or Instagram user. The malicious extensions
                                                                22   contained JavaScript files designed to web scrape the user’s profile information, user
                                                                23   advertisement interest information, and advertisements and advertising metrics from
                                                                24   ads appearing on a user’s account, while the user visited the Facebook or Instagram
                                                                25   websites. The data scraped by Defendants included both public and non-publicly
                                                                26   viewable data about the users.
                                                                27         46.    Defendants’ malicious extensions were designed to web scrape Facebook
                                                                28   and Instagram user profile information, regardless of the account’s privacy settings.

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                                                                1    The malicious extensions were programmed to send unauthorized, automated
                                                                2    commands to Facebook and Instagram servers purporting to originate from the user
                                                                3    (instead of Defendants), web scrape the information, and send the scraped data to the
                                                                4    user’s computer, and then to servers that Defendants controlled.
                                                                5          47.    Defendants used the data collected by the malicious extensions to sell
                                                                6    “marketing intelligence,” and other services through the website brandtotal.com.
                                                                7    BrandTotal publicly stated that it used the data obtained through the malicious
                                                                8    extensions to provide marketing insights about users and advertisers. Exs. 5 and 11.
                                                                9                2.     The UpVoice Malicious Extension
                                                                10         48.    Between September 2019 and October 1, 2020, BrandTotal developed,
                                                                11   promoted, and distributed the UpVoice extension.           BrandTotal programmed the
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                                                                12   UpVoice extension to web scrape data from both Facebook and Instagram, as well as
                                                                13   Amazon, Twitter, LinkedIn, and YouTube.         BrandTotal further programmed the
                                                                14   UpVoice extension to send the scraped data to a server controlled by Defendants.
                                                                15         49.   BrandTotal maintained and operated the website joinupvoice.com, which
                                                                16   it used to promote the UpVoice malicious extension. Exs. 11-12. To incentivize the
                                                                17   installation of that malicious extension, BrandTotal offered gift cards to visitors who
                                                                18   installed it. Ex. 11. For example, on its website, as shown in Figure 3 below,
                                                                19   BrandTotal promoted the UpVoice browser extension as a way to “[g]et paid for the
                                                                20   time you spend on” Facebook, YouTube, LinkedIn, Amazon and Twitter. Id. And
                                                                21   visitors to the website were instructed to “[a]dd the UpVoice Chrome extension to your
                                                                22   desktop browser [to] start earning gift cards.”      Id.    Once a user registered on
                                                                23   joinupvoice.com, the user would need to install the UpVoice malicious extension from
                                                                24   Google’s Chrome Web Store.
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                                                                1                                 Figure 3: UpVoice Website
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                                                                           50.   BrandTotal deceived visitors to the website into believing Facebook and
                                                                21
                                                                     other social networks were working with UpVoice and BrandTotal by identifying
                                                                22
                                                                     Facebook and the other companies as “participating sites,” (Exs. 11 and 13) when in
                                                                23
                                                                     fact, Facebook did not authorize Defendants to scrape data from its computers.
                                                                24
                                                                     Additionally, although Instagram was not included in the list of “participating sites,”
                                                                25
                                                                     BrandTotal collected advertising data and Instagram user profile information from users
                                                                26
                                                                     who installed the malicious extension. Ex. 13.
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                                                                1          51.    BrandTotal programmed the malicious extension to web scrape user
                                                                2    profile information and advertising data from Instagram users who installed the
                                                                3    UpVoice malicious extension. Ex. 14. BrandTotal caused the malicious extension to
                                                                4    scrape advertisements and advertising metrics, including information about the
                                                                5    advertiser, the image and text of the advertisement, and user interaction and reaction
                                                                6    metrics (e.g., number of views, comments, likes) associated with an advertisement. Id.
                                                                7          52.    BrandTotal programmed the malicious extension to scrape Instagram user
                                                                8    profile information, including the user’s name, account name, user ID, profile picture,
                                                                9    and other information about the user’s account. Id.
                                                                10         53.    BrandTotal also programmed the UpVoice malicious extension to send
                                                                11   automated requests to Facebook servers to obtain user profile information for Facebook
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                                                                12   users and advertising data. Exs. 15-19. The malicious extension was coded to scrape
                                                                13   information when a user visited Facebook. BrandTotal caused the user’s ID, gender,
                                                                14   date of birth, relationship status, and location information to be scraped, regardless of
                                                                15   the user’s privacy settings. Id. BrandTotal also scraped Ad Preferences information
                                                                16   (Ex. 18), which is nonpublic information Facebook uses to determine what ads to show
                                                                17   a user based on a user’s activity on Facebook and Instagram, and other information.
                                                                18         54.    BrandTotal also coded the UpVoice malicious extension to send requests
                                                                19   to Facebook servers to obtain advertisements and advertising metrics, including
                                                                20   information about the advertiser, the image and text of the advertisement, and user
                                                                21   interaction and reaction metrics (e.g., number of views, comments, likes) associated
                                                                22   with an advertisement. Ex. 20.
                                                                23                3.    Ads Feed Malicious Extension
                                                                24         55.    Since at least November 2019, Unimania developed, promoted, and
                                                                25   distributed the Ads Feed malicious extension on Google’s Chrome Web Store. Ex. 9.
                                                                26   Unimania programmed the Ads Feed extension to web scrape data from both Facebook
                                                                27   and Instagram, as well as Amazon, Twitter, and YouTube. The data collected through
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                                                                1    the Ads Feed malicious extension was sent to the same servers as the data collected
                                                                2    through the UpVoice malicious extension.
                                                                3          56.    According to the overview of the malicious extension on Google’s Chrome
                                                                4    Web Store, the malicious extension saves 90 days of advertisements from Twitter,
                                                                5    Facebook, Instagram, YouTube, and Amazon and allows the user to “click back to those
                                                                6    that interest you.” Id. Unlike the UpVoice malicious extension, BrandTotal did not
                                                                7    offer users a financial incentive for installing the Ads Feed malicious extension. Id.
                                                                8          57.    The Ads Feed malicious extension used code almost identical to the code
                                                                9    used in the UpVoice malicious extension to scrape user profile data, advertisements and
                                                                10   advertising metrics, and Ad Preference information from Facebook and Instagram. For
                                                                11   example, like the UpVoice extension, the Ads Feed malicious extension scraped the
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                                                                12   image and text of the advertisement, and user interactions with the ad (e.g., number of
                                                                13   views, comments, likes) from Facebook and Instagram ads, returned it to the user’s
                                                                14   browser, and then sent it to a server controlled by Defendants.
                                                                15         H.     Facebook’s Enforcement Efforts
                                                                16         58.    On or about September 30, 2020, Facebook took various technical
                                                                17   enforcement measures against Defendants, including disabling Facebook and Instagram
                                                                18   accounts and Pages.
                                                                19         59.    On October 1, 2020, Facebook filed a civil action in the Superior Court of
                                                                20   California, County of San Mateo, case 20-CIV-04256, alleging violations of
                                                                21   Facebook’s and Instagram’s Terms based on scraping activity by Defendants’ UpVoice
                                                                22   and Ads Feed browser extensions.
                                                                23         60.    On October 1, 2020, shortly after Facebook filed its civil action in state
                                                                24   court, Google removed both extensions from Google’s Chrome Web Store, which
                                                                25   disabled them.
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                                                                1             I.    After Plaintiff Revoked Defendants’ Access, BrandTotal Created
                                                                2                   New Accounts and Promoted a New Malicious Extension
                                                                3             61.   On October 3, 2020, after Facebook took technical enforcement measures
                                                                4    against Defendants, including disabling Facebook and Instagram accounts,
                                                                5    BrandTotal’s CPO created a Facebook account using the fake name “Jack Buch.” A
                                                                6    few minutes later, BrandTotal’s CPO created an Instagram account using the name
                                                                7    “Jack_Back.”
                                                                8             62.   On October 12, 2020, in order to circumvent Facebook’s technical
                                                                9    restrictions against scraping, Defendants published a new malicious extension on
                                                                10   Google’s Chrome Web Store. This new malicious extension was called “UpVoice” and
                                                                11   published under the developer name the “UpVoice Team.” Ex. 21. Defendants’ new
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                                                                12   malicious extension was programmed to scrape data from Facebook by using the
                                                                13   browser of the user of the extension as a proxy to connect with Facebook computers,
                                                                14   without authorization, meanwhile pretending to be an authenticated user with proper
                                                                15   login credentials. The new malicious extension was designed to scrape data from
                                                                16   Facebook’s computers when the user was logged in and visited Facebook. The data
                                                                17   scraped from Facebook’s computers included advertisements, advertising metrics, and
                                                                18   data that was not publicly viewable and, in some cases, not even viewed by the user.
                                                                19   The malicious extension was also coded to scrape data from LinkedIn.com,
                                                                20   Twitter.com, YouTube.com, and Amazon.com and was installed by approximately 30
                                                                21   users.
                                                                22            63.   The new malicious extension was coded to return scraped data to the user’s
                                                                23   browser, and then send it to a server controlled by Defendants.
                                                                24            J.    Defendants Unjustly Enriched Themselves and Harmed Facebook
                                                                25            64.   Defendants’ violations of Facebook’s and Instagram’s Terms and Policies
                                                                26   have harmed Facebook.          Defendants interfered and continue to interfere with
                                                                27   Facebook’s platforms.
                                                                28

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                                                                1            65.   Facebook suffered damages attributable to the efforts and resources it used
                                                                2    to investigate and remediate Defendants’ conduct in an amount to be determined at trial.
                                                                3            66.   Since at least September 2019, Defendants have unjustly enriched
                                                                4    themselves at Facebook’s expense in an amount to be determined at trial. Facebook is
                                                                5    entitled to an accounting by Defendants and a disgorgement of all unlawful profits
                                                                6    gained from their conduct.
                                                                7                                 FIRST CAUSE OF ACTION
                                                                8                                       (Breach of Contract)
                                                                9            67.   Facebook realleges and incorporates all preceding paragraphs here.
                                                                10           68.   Since December 2016, Defendants, through their employees and agents,
                                                                11   created multiple Facebook and Instagram accounts and agreed to Facebook’s and
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                                                                12   Instagram’s Terms and Policies. Facebook’s and Instagram’s Terms and Policies
                                                                13   constitute an agreement between Defendants and Facebook. Defendants also agreed to
                                                                14   Facebook’s and Instagram’s Terms and Policies through the use of the service.
                                                                15           69.   Facebook has performed all conditions, covenants, and promises required
                                                                16   of them in accordance with Facebook’s and Instagram’s Terms and Policies.
                                                                17           70.   Defendants’ actions interfered and caused others to interfere with
                                                                18   Facebook and Instagram, and engaged with Facebook and Instagram in unauthorized
                                                                19   ways.
                                                                20           71.   Defendants have breached Instagram’s Terms.           Defendants have also
                                                                21   breached Facebook Terms 3.2.1, 3.2.2, and 3.2.3. Facebook’s Terms prohibit (a) using
                                                                22   automated means without Facebook’s permission to web scrape user profiles and
                                                                23   account and advertising information from Facebook and Instagram; (b) scraping
                                                                24   Facebook and Instagram user profile information and advertising data by sending code
                                                                25   to Facebook that purported to originate from the user, which is “unlawful, misleading,
                                                                26   [ ] or fraudulent;” (c) falsely representing to users that Facebook is a “participating site”
                                                                27   in Defendants’ scraping activity; and (d) scraping the intellectual property rights of
                                                                28

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                                                                1    others by harvesting advertising images and text. Instagram’s Terms of Use also
                                                                2    prohibit the same conduct.
                                                                3          72.    Defendants’ many breaches have caused Facebook to incur damages in an
                                                                4    amount to be proven at trial.
                                                                5          73.    Facebook likewise seeks injunctive relief.        As a direct result of
                                                                6    Defendants’ unlawful actions, Facebook has suffered and continues to suffer irreparable
                                                                7    harm for which there is no adequate remedy at law, and which will continue unless
                                                                8    Defendants’ actions are enjoined.
                                                                9                               SECOND CAUSE OF ACTION
                                                                10                                     (Unjust Enrichment)
                                                                11         74.    Facebook realleges and incorporates all preceding paragraphs here.
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                                                                12         75.    Defendants’ acts as alleged herein constitute unjust enrichment of the
                                                                13   Defendants at Facebook’s expense.
                                                                14         76.    Defendants accessed and used, without authorization or permission,
                                                                15   Facebook’s services, platforms, and computer network, all of which belong to
                                                                16   Facebook.
                                                                17         77.    Defendants used Facebook’s services, platforms, and computer network
                                                                18   to, among other things, scrape data from Instagram and Facebook.
                                                                19         78.    Defendants received a benefit by profiting from the data they wrongfully
                                                                20   scraped from Facebook and Instagram, which they used to sell “marketing intelligence”
                                                                21   and services. But for Defendants’ wrongful, unauthorized, and intentional use of
                                                                22   Facebook and Instagram, they would not have obtained such profits.
                                                                23         79.    Defendants’ retention of the profits derived from their unauthorized use of
                                                                24   Facebook’s service, platform, and computer network, including data, would be unjust.
                                                                25         80.    Facebook seeks an accounting and disgorgement of Defendants’ ill-gotten
                                                                26   profits in an amount to be determined at trial.
                                                                27
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                                                                1                               THIRD CAUSE OF ACTION
                                                                2                      (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                3          81.    Facebook realleges and incorporates all preceding paragraphs here.
                                                                4          82.    Defendants violated and attempted to violate 18 U.S.C. § 1030.
                                                                5          83.    Facebook’s computers are “protected computers” as defined by 18 U.S.C.
                                                                6    § 1030(e)(2)(B) because they are “used in or affecting interstate commerce or
                                                                7    communication.”
                                                                8          84.    Defendants violated and attempted to violate 18 U.S.C. § 1030(a)(2)
                                                                9    because they intentionally accessed and attempted to access Facebook’s computers
                                                                10   without authorization and obtained public and non-public information from Facebook.
                                                                11   Defendants’ access was without authorization because Facebook revoked Defendants’
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                                                                12   access to Facebook and filed a civil action against Defendants on October 1, 2020.
                                                                13         85.    Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and
                                                                14   with intent to defraud, accessed Facebook computers, by sending and attempting to send
                                                                15   unauthorized commands and requests, and by means of such conduct furthered the
                                                                16   intended fraud and obtained something of value. Defendants’ intended fraud included
                                                                17   sending concealed commands and requests to Facebook computers that falsely
                                                                18   represented themselves as requests from an authenticated, logged in user in order to
                                                                19   access and obtain data from Facebook, the value of which exceeded $5,000.
                                                                20         86.    Defendants’ actions caused plaintiff to incur a loss as defined by 18 U.S.C.
                                                                21   § 1030(e)(11), in an amount in excess of $5,000 during a one-year period, including the
                                                                22   expenditure of resources to investigate and remediate Defendants’ conduct. Plaintiff is
                                                                23   entitled to compensation for losses and any other amount to be proven at trial.
                                                                24                             FOURTH CAUSE OF ACTION
                                                                25                               (California Penal Code § 502)
                                                                26         87.    Facebook realleges and incorporates all preceding paragraphs here.
                                                                27         88.    Defendants violated California Penal Code § 502.
                                                                28

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                                                                1          89.    Through the malicious extensions, Defendants knowingly accessed and
                                                                2    without permission used Facebook’s computers in order to both (a) devise and/or
                                                                3    execute a scheme to defraud and deceive; and (b) wrongfully obtain data in violation of
                                                                4    California Penal Code § 502(c)(1)(A) & (B).
                                                                5          90.    Through the malicious extensions, Defendants knowingly accessed and
                                                                6    without permission took, copied, and/or made use of data from Facebook’s computers
                                                                7    in violation of California Penal Code § 502(c)(2).
                                                                8          91.    Defendants knowingly and without permission used Facebook’s computer
                                                                9    services, as defined by § 502(b)(4), in violation of California Penal Code § 502(c)(3).
                                                                10         92.    By knowingly and without permission accessing Facebook’s computers,
                                                                11   computer systems, and/or computer networks Defendants violated California Penal
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                                                                12   Code § 502(c)(7).
                                                                13         93.    Defendants’ access was without permission because Defendants accessed
                                                                14   Facebook’s computers, computer systems, and/or computer networks after Facebook
                                                                15   revoked Defendants’ access to Facebook and Instagram and filed a civil action against
                                                                16   Defendants on October 1, 2020.
                                                                17         94.    Facebook suffered and continues to suffer damages and a loss as a result
                                                                18   of Defendants’ actions. Facebook, therefore, is entitled to compensatory damages, in
                                                                19   an amount to be proven at trial, as well as injunctive relief under California Penal Code
                                                                20   § 502(e)(1) and (2).
                                                                21         95.    Because Defendants willfully violated California Penal Code § 502 and
                                                                22   given the clear and convincing evidence that Defendants committed “fraud” as defined
                                                                23   by 3294 of the California Civil Code, Plaintiff is entitled to punitive damages under
                                                                24   California Penal Code § 502(e)(4).
                                                                25                               FIFTH CAUSE OF ACTION
                                                                26                          (Interference with Contractual Relations)
                                                                27         96.    Facebook realleges and incorporates all preceding paragraphs here.
                                                                28

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                                                                1          97.    All Facebook and Instagram users must agree to Facebook’s and
                                                                2    Instagram’s Terms, which were valid and existing contracts at all relevant times.
                                                                3          98.    Under the Facebook Terms, among other things, all Facebook users agreed
                                                                4    to “[n]ot share your password, give access to your Facebook account to others, or
                                                                5    transfer your account to anyone else (without our permission).” Similarly, under the
                                                                6    Instagram Terms, among other things, all Instagram users agreed they would not
                                                                7    “attempt to buy, sell, or transfer any aspect of your account (including your username)
                                                                8    or solicit, collect, or use login credentials or badges of other users.”
                                                                9          99.    Defendants knew of Facebook’s contractual relationship with its users and
                                                                10   of Facebook’s and Instagram’s Terms because Defendants agreed to them themselves
                                                                11   when they created accounts on Facebook and Instagram.
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                                                                12         100. Defendants       intentionally   interfered    with   Facebook’s    contractual
                                                                13   relationship with its users by inducing them to share their Facebook and Instagram login
                                                                14   credentials with Defendants in violation of the foregoing provisions.
                                                                15         101. Defendants’ acts were wrongful in that Defendants falsely represented to
                                                                16   users that Facebook was a “participating site” that sanctioned Defendants’ conduct; and
                                                                17   solicited access to the users’ account and Facebook through the malicious extensions.
                                                                18   In fact, Facebook was never a “participating site,” and it never sanctioned Defendants’
                                                                19   conduct. Moreover, as stated above, Defendants’ conduct violated 18 U.S.C. § 1030
                                                                20   and California Penal Code § 502.
                                                                21         102. As a result of Defendants’ conduct, Facebook has incurred damages in an
                                                                22   amount to be proven at trial.
                                                                23                                SIXTH CAUSE OF ACTION
                                                                24          (Unlawful, Unfair or Fraudulent Business Practices against Defendants)
                                                                25         103. Facebook realleges and incorporates all preceding paragraphs here.
                                                                26         104. Defendants’ actions described above constitute unlawful, unfair, or
                                                                27   fraudulent acts or practices in the conduct of a business, in violation of California’s
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                                                                1    Business and Professions Code Section 17200, et seq., including actions that are
                                                                2    forbidden by other laws.
                                                                3          105. Defendants’ business practices are unfair because Defendants have acted
                                                                4    in a manner that is immoral, unethical, oppressive, unscrupulous and/or substantially
                                                                5    injurious to Facebook.       Defendants falsely represented that Facebook was a
                                                                6    “participating site” that sanctioned Defendants’ conduct when, in fact, Facebook did
                                                                7    not sanction Defendants’ conduct. Moreover, Defendants solicited and deceived users
                                                                8    into installing Defendants’ extensions which enabled Defendants to use the users’
                                                                9    browsers as a proxy to access Facebook computers, without Facebook’s authorization,
                                                                10   meanwhile pretending to be a legitimate user in order to scrape data from Facebook.
                                                                11         106. Scraping data and information from Facebook, as well as circumventing
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                                                                12   Facebook’s ability to police its platforms for abusers, is substantially injurious because
                                                                13   of the significant harm that can result to Facebook’s and Instagram’s users if
                                                                14   information associated with those users is handled irresponsibly by third parties,
                                                                15   including Defendants. Further, the impact of the practice against Plaintiff far outweighs
                                                                16   any possible justification or motive on the part of Defendants. Facebook, and the public
                                                                17   at large, have a strong interest in the integrity of Facebook’s platforms, Facebook’s
                                                                18   policing of those platforms for abuses, and Facebook’s protection of its users’ privacy.
                                                                19         107. Defendants’ business practices are fraudulent for the same reason.
                                                                20   Defendants falsely represented to Facebook’s and Instagram’s users that Facebook was
                                                                21   a “participating site” that sanctioned Defendants’ conduct when, in fact, Facebook did
                                                                22   not sanction such conduct. Moreover, Defendants deceived Facebook into providing
                                                                23   them with access to its computer network by using the login credentials of other users,
                                                                24   which Facebook did not and would not permit.
                                                                25         108. Defendants’ business practices also are unlawful.           As stated above,
                                                                26   Defendants’ conduct violated 18 U.S.C. § 1030 and California Penal Code § 502.
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                                                                1           109. As a result of Defendants’ various acts and omissions, Facebook was
                                                                2    injured and in fact and lost money and property in the form of, among other things, costs
                                                                3    to investigate, remediate, and prevent Defendants’ wrongdoings.
                                                                4           110. As a result of Defendants’ various acts and omissions, Facebook has
                                                                5    suffered and continues to suffer irreparable harm for which there is no adequate remedy
                                                                6    at law, and which will continue unless Defendants’ actions are enjoined.
                                                                7                                   PRAYER FOR RELIEF
                                                                8           Facebook seeks a judgment awarding the following relief:
                                                                9           (a)    A permanent injunction restraining Defendants from accessing and using
                                                                10   Facebook and Instagram;
                                                                11          (b)    A permanent injunction requiring Defendants to identify the location of
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                                                                12   any and all data obtained from Facebook and Instagram, to delete such data, and to
                                                                13   identify any and all entities with whom Defendants shared such data;
                                                                14          (c)    A permanent injunction restraining Defendants from developing,
                                                                15   distributing, using, and causing others to use browser extensions and other products and
                                                                16   devices designed to collect data from Facebook and Instagram, without first obtaining
                                                                17   Facebook’s express permission;
                                                                18          (d)    Compensatory damages in an amount to be determined at trial;
                                                                19          (e)    An accounting of each Defendant’s profits resulting from their scraping
                                                                20   activity;
                                                                21          (f)    Disgorgement of Defendants’ profits resulting from their scraping
                                                                22   activities;
                                                                23          (g)    Pre-judgment and post-judgment interest; and
                                                                24   ///
                                                                25   ///
                                                                26   ///
                                                                27   ///
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                                                                1         (h)   All other equitable or legal relief the Court deems just and proper.
                                                                2
                                                                3    Dated: October 14, 2020                    HUNTON ANDREWS KURTH LLP
                                                                4
                                                                5                                                 By:        /s/ Ann Marie Mortimer
                                                                6                                                          Ann Marie Mortimer
                                                                                                                           Jason J. Kim
                                                                7                                                          Jeff R. R. Nelson
                                                                8                                                       Attorneys for Plaintiff
                                                                                                                        FACEBOOK, INC.
                                                                9
                                                                                                                           Platform Enforcement and
                                                                10                                                         Litigation
                                                                11                                                         Facebook, Inc.
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
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                                                                                                                           Jessica Romero
                                                                12                                                         Michael Chmelar
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                                                                1                                       DEMAND FOR JURY TRIAL
                                                                2            Plaintiff hereby demands a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: October 14, 2020                             HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6                                                          By:        /s/ Ann Marie Mortimer
                                                                7                                                                   Ann Marie Mortimer
                                                                                                                                    Jason J. Kim
                                                                8                                                                   Jeff R. R. Nelson
                                                                9                                                                Attorneys for Plaintiff
                                                                                                                                 FACEBOOK, INC.
                                                                10
                                                                                                                                    Platform Enforcement and
                                                                11                                                                  Litigation
                           Los Angeles, California 90071-2627
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                                                                12                                                                  Facebook, Inc.
                                                                                                                                    Jessica Romero
                                                                13                                                                  Michael Chmelar
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                                                                                                                    BRANDTOTAL LTD :English name

                                                                                                        20/11/2016                          :Date of incorporation

                                                                                                                                                              :Sub-status

                                                                                                                                            :Company description

                                                                       To engage in any lawful business :The purpose of the company

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                        EXHIBIT 2



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Delaware.gov                                                                                                                                                                                                                Governor I General Assembly I Courts I Elected Officials I State Agencies




 Department of State: Division of Corporations
                                                                                                                                                                                                                                                                                           Allowable Characters

 HOME                                                                                                                Entity Details
 About Agency
 Secretary's Letter
 Newsroom
                                                                                                THIS IS NOT A STATEMENT OF GOOD STANDING
 Frequent Questions
 Related Links
 Contact Us                                                                                                  lncori:�oration Date I      11/13/2017
                                                                File Number:               6613286
 Office Location                                                                                                 Formation Date:         (mm/dd/yyyy)
 SERVICES                                                                                  BRANDTOTAL INC.
                                                                EntitY. Name:
 Pay Taxes
 File UCC's
 Delaware Laws Online                                           EntitY. Kind:              Corporation                EntitY. TY.Re:     General
 Name Reservation
 Entity Search                                                  Residency�                 Domestic                          State:      DELAWARE
 Status
 Validate Certificate
 Customer Service Survey
                                                                REGISTERED AGENT INFORMATION
 INFORMATION
 Corporate Forms
 Corporate Fees                                                 Name:                      PHS CORPORATE SERVICES, INC.
 UCC Forms and Fees
 Taxes
 Expedited Services                                             Address:                   1313 N MARKET ST STE 5100
 Service of Process
 Registered Agents                                              City:                      WILMINGTON                     County:        New Castle
 GetCorporate Status
 Submitting a Request                                           State:                     DE                        Postal Code:        19801
 How to Form a New Business Entity
 Certifications, Apostilles & Authentication of Documents       Phone:                     302-571-1128


                                                                Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                                more detailed information including current franchise tax assessment, current filing history
                                                                and more for a fee of $20.00.
                                                                Would you like O Status O Status.Tax & History Information

                                                                I Submit   J
                                                                I View Search Results J                      I New Entity Search J
=or help on a particular field click on the Field Tag to take you to the help area.
                                                                                                                       site map   I    privacy   I   about this site   I    contact us   I   translate   I   delaware.gov



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                        EXHIBIT 3



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                                         Services         News           Government             Local


                                                                                          NYS Departinent of State
                                                                                                Division of Corporations
                                                                                                      Entity Information
                                                                   The information contained in this database is current through May 27,                           2020.



                                                                                              Selected Entity Name: BRANDTOTAL INC.
                                                                                                      Selected Entity Status Information
                                                                                      Current Entity Name: BRANDTOTAL INC.
                                                                                                  DOS ID #: 5394869
                                                                                     Initial DOS Filing Date: AUGUST 16, 2018
                                                                                                       County: NEW YORK
                                                                                                Jurisdiction: DELAWARE
                                                                                                Entity Type: FOREIGN BUSINESS CORPORATION
                                                                                      Current Entity Status: ACTIVE

                                                                                                   Selected Entity Address Information
                                                                        DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
                                                                        BRANDTOTAL INC.
                                                                        49W23RD ST
                                                                        NEW YORK, NEW YORK, 10010
                                                                        Registered Agent
                                                                        NONE


                                                           This office does not record information regarding the names and addresses of officers, shareholders or directors of
                                                         nonprofessional corporations except the chief executive officer, if provided, which would be listed above. Professional
                                                     corporations must include the name(s) and address(es) of the initial officers, directors, and shareholders in the initial certificate
                                                                of incorporation, however this information is not recorded and only available by viewing the certificate.


                                                         *Stock Information                                        Name History
                                     # of Shares        Type of Stock           $   Value per Share        Filing Date        Name Type       Entity Name
                                                   No Information Available                                AUG 16, 2018       Actual          BRANDTOTAL INC.

                                     *Stock information is applicable to domestic business                 A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York State. The entity must use
                                     corporations.                                                         the fictitious name when conducting its activities or business in New York State.


                                                                              NOTE: New York State does not issue organizational identification numbers.

                                                                URL: https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTITY_INFORMATION?
p_token=F085393DBFF563EE8BBC0BB1E7F8CA49A867E59DB8E4569138E8FA93ACFB2E5FA6DE574A29CD6AB5E4A22B77BC3C51E1&p_nameid=80550B2CD21DA617&p_corpid=ECA5FCCCE7FCFE1E&p_captcha=17151&p_captcha_check=F085393
 DBFF563EE8BBC0BB1E7F8CA49A867E59DB8E4569138E8FA93ACFB2E5F844D33F58D6463B9685E535EE4F557D4&p_entity_name=%62%72%61%6E%64%74%6F%74%61%6C&p_name_type=%25&p_search_type=%43%4F%4E%54%41%49%4E%
                                                                                              53&p_srch_results_page=0
                                                                                                                      29
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                        EXHIBIT 4



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  Ill: Privacy Shield                                                                                                                                                                             Search                          Q      Login
  �Framework


    Self-Certify             Privacy Shield List      Audiences           About




             BrandTotal Inc.
                                                                Participation
              • Active Participant
                                                                  EU-U.S. PRIVACY SHIELD FRAMEWORK: ACTIVE
                    Participation
                                                                  Original Certification Date: 8/23/2018
                    Privacy Policy
                                                                  Next Certification Due Date: 4/22/2021
                    Dispute                                       Data Collected: NON-HR
                    R esolution


                                                                  SWISS-U.S.PRIVACY SHIELD FRAMEWORK: ACTIVE
                                                                  Original Certification Date: 8/23/2018
                                                                  Next Certification Due Date: 4/22/2021
                                                                  Data Collected: NON-HR



                                                                  PURPOSE OF DATA COLLECTION
                                                                  BrandTotal Inc. is a subsidiary of BrandTotal Ltd. BrandTotal and BrandTotal Ltd. develop and provide marketers with
                                                                  real-time brand monitoring and competitive intelligence solutions on their and their competitors' online advertising
                                                                  activities, including in social networks (the "Service"). In order to perform the Service, we, BrandTotal, Inc. may use
                                                                  personal information, namely, for the purpose of research and development and/or marketing of the Service.
                                                                  BrandTotal will process the personal data it receives for the purposes of offering and/or providing the Service to
                                                                  customers. To fulfill these purposes, We may, without limitation, use the personal data to, and/or to assist BrandTotal
                                                                  Ltd. to: contact data subjects, to discuss or execute contracts, to provide the Service, to provide support and
                                                                  maintenance, to correct and address technical or service problems, for marketing purposes, to comply with applicable
                                                                  laws, regulations and orders from public authorities or courts, and/or for the establishment, exercise or defense of
                                                                  legal claims, whether in court proceedings or in an administrative or out-of-court procedures.




                                                                Privacy Policy

                                                                  NON-HR DATA

                                                                  Document: BrandTotal - Privacy Shield Notice
                                                                  Description:
                                                                  BrandTotal Inc. is a subsidiary of BrandTotal Ltd. BrandTotal and
                                                                  BrandTotal Ltd. develop and provide marketers with real-time
                                                                  brand monitoring and competitive intelligence solutions on their
                                                                  and their competitors' online advertising activities, including in
                                                                  social networks (the "Service"). In order to perform the Service,
                                                                  we, BrandTotal, Inc. may use personal information, namely, for
                                                                  the purpose of research and development and/or marketing of
                                                                  the Service. BrandTotal will process the personal data it receives
                                                                  for the purposes of offering and/or providing the Service to
                                                                  customers. To fulfill these purposes, We may, without limitation,
                                                                  use the personal data to, and/or to assist BrandTotal Ltd. to:
                                                                  contact data subjects, to discuss or execute contracts, to provide
                                                                  the Service, to provide support and maintenance, to correct and
                                                                  address technical or service problems, for marketing purposes,
                                                                  to comply with applicable laws, regulations and orders from
                                                                  public authorities or courts, and/or for the establishment,
                                                                  exercise or defense of legal claims, whether in court proceedings
                                                                  or in an administrative or out-of-court procedures.
                                                                  Effective Date: 4/21/2020


                                                                  VERIFICATION METHOD
                                                                  Self-Assessment




                                                                Dispute Resolution

                                                                  QUESTIONS OR COMPLAINTS?
                                                                  If you have a question or complaint regarding the covered data, please contact BrandTotal Inc. at:
                                                                  Oren Dor                                                                       oren@brandtotal.com
                                                                   BrandTotal Inc.
                                                                  49 W 23rd St, New York
                                                                  New York, New York 10010


                                                                  Privacy Shield organizations must respond within 45 days of receiving a complaint.

                                                                  If you have not received a timely or satisfactory response from BrandTotal Inc. to your question or complaint, please
                                                                  contact the independent recourse mechanism listed below


                                                                  NON-HR RECOURSE MECHANISM
                                                                  JAMS Privacy Shield Program



                                                                  Appropriate statutory body with jurisdiction to investigate any claims against Brandlotal Inc. regarding possible unfair or deceptive practices and
                                                                  violations of laws or regulations covering privacy Federal Trade Commission




    Self-Certify                            Privacy Shield List                     Audiences                               About

                                                                                    U.S.Businesses                          Program Overview
                                                                                    European Businesses                     Framework Text
                                                                                    EU and Swiss Individuals                Inactive Participants
                                                                                    Data Protection Authorities             News & Events
                                                                                                                            Contact
                                                                                                                            Privacy Program




                                          Home I Website Feedback I Privacy Policy I Disclaimer I F0IA I USA.gov


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                      TR A DE
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                                          should not be construed as an endorsement of the views or privacy policies contained therein. This site contains PDF documents. A PDF Reader is available from Adobe Systems Incorporated
  ��o•r�:,o1 ►•/


                                          U.S. Department of Commerce I EU-U.S. & Swiss-U.S. Privacy Shield I 1401 Constitution Avenue, NW. I Room 11018 I Washington. D.C. 20230
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                        EXHIBIT 5



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        ,aBrandTotal                                                About     News       Resources




                                                                                                                                           0
        Smarter marketing begins with data.
        Before digital, it was pretty straightforward to track the competition in print. on billboards and on TV. But today, with 90% of
        today's digital marketing hidden from view and fragmented across multiple channels, it can be challenging to understand how
        your brand marketing measures up to the competition.
        By applying advanced cyber security techniques and artificial intelligence, BrandTotal uncovers and analyzes competitors' #dark"
        marketing efforts, illuminating their strategies and tactics. Many of the most recognizable consumer brands use our competitive
        marketing intelligence platform to discover marketing threats and opportunities in real time.
        If you are interested in joining our team to help change the way marketers understand their competitive environment. please
        contact us!




        LEADERSHI P


        Alon Leibovich, CEO & Co· Founder                11!1

        Amir Lesh man, CTO & Co·Founder                  11!1
        Omer Ram ote,
                                                         11!1
        Chief Architect & Co·Fou nder

        Oren Dor, Chief Product Officer                  11!1
        Mar k Mansfie ld,
        SVP Global Head, Growth &                        11!1
        Partnerships




                                                                     Backed By


                                                    ♦                                                        Oracle Startup
                 I DC                                   Miccosoft
                                                        Accelerator            (-, q k!.':l?.!               Cloud Accelerator

             FJ            LABS                 f    FLIN T                          1,1- 1,1                      ONE WAY
                                                     CAPITAL                         !NVlSTMEHT                    VENTURES




                                                     Request a Demo
                            Fmd out what BrandTotal can show you about your competitors by request mg a demo today.




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                                                                                                         BrandTotal            c          Br<1n T~,~~I

         Get A Demo



         f in         '#




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                        EXHIBIT 6



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    6- chrome web store                                                                                                                   (I   Sign in



Home   > Extensions > UpVoice



 UP        UpVoice                                                                                                                  Available on Chrome

          Offe red by: UpVoice

           *** *       "j   10 I Accessibility I .:, 5,0oo.. user s


                                               Overview               Reviews        Support        Rel ated




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          Overview                                                                                              Additional Information

          This extension allows you to earn rewards just for being you!                                         A   Website         8   Report abuse

                                                                                                                Version
          Earn a selection of gift cards of your choice including Amazon and prepaid
                                                                                                                2.10.1439
          Visa for using Facebook, YouTube, Amazon , and other participating sites
          like you normally do. Share your opinions and win even more!                                          Updated
                                                                                                                July 19, 202 0

          As a qualified UpVoice panelist, you impact the marketing decisions and                               Size
          brand strategies of multi-billion dollars corporations, who compete for your                          341KiB
          attention online . This means that you have a direct influence on the online
                                                                                                                language
          advertising campaigns of big brands.
                                                                                                                English

                                                                                                                Developer
           Install the UpVoice extension and qualify to become a member of our
                                                                                                                contact@joi nupvoice.com
          panel. It's safe and won't impact your browser performance. As a qualified
                                                                                                                Privacy Policy
          member, we wrn reward you for browsing your social feeds and other
          participating sites as you normally do. For more details, please visit our
          terms of service at: https://joinupvoice.com/tos and our rewards plan at:
          https ://joinupvoice. com/faq/#reward s-plan.
          Make sure to disable your ad blocker if you have one, otherwise, we cannot
          collect the ads that target you and therefore we cannot reward you.


          Privacy & data collection
          When you regu larly visit Facebook, I nstagram and other participating sites,
          we securely collect the ads that you see and anonymous demographic
          profile data. We never share your personal information with anyone, except
          if needed to send you your rewards.


          We protect your data using the highest security standards and we comply
          with all privacy regulations . For more details, please visit our Privacy Policy
          at: https://joinupvoice.com/privacy and our Data & Privacy FAQ at:
          http://joinupvoice.com/faq/#upvoice•data-and-privacy
           If you have any questions, please contact us at: contact@joinupvoice.com.


           For more detail s please visit www.joinupvoice.com.


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& v vyCon nect by SawyS...             PrizeRebel • Online Paid ...                  loginhood                      Microsoft Rewards
       8, 000+ users
                                             ***** 44                                ****+ 9                           **** ;, 130




                            This extension allows you to earn rewards just for being you!

                                                                      Available on Chrome




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                        EXHIBIT 7



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,a BrandTotal                                                                                         About      News   Resources   Blog    Login         Request aDemo


                     < Vlf:YV ALL POSTS




                     BrandTotal Raises $6 Million in
                     Series A Round to Expand
                     Rollout of Agile Marketing
                     Platform [PRESS RELEASE]
                     September 25, 2018

                       16r       Like 250   0   Shnre 0   tl4H41 Ii" Ji,Hii

                                                                                                                                           Looking for social competitive   X
                                                                                                                                           intelligence data? Start a convo
                                                                                                                                           and let's get moving!




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                     BrandTotal , a New York- and Tel Aviv-based
                     company whose agile marketing platform harnesses
                     artificial intelligence, cyber security techniques and
                     data science to empower brand marketers with
                     competitive data and actionable in sights by
                     revealing the d igit a I marketing activities of their
                     top competitors, today announced the closing of a
                     $6 million round of funding, bringing their total
                     venture funding to $8 million .


                     Flint Capital Leads Latest Funding

                     BrandTotal Marketing Intelligence Platform Shines Light on " Dark
                     Marketing," Revealing Hidden Digital Marketing Strategies to Empower
                     Brand Marketers

                     NEW YORK, Sept. 25, 2018 /PRNewswire/ ·· BrandTotal, a New York- and Tel
                     Aviv-based company whose agile marketing platform harnesses artificial
                     intelligence, cyber security techniques and data science to empower brand
                     marketers with competitive data and actionable insights by revealing the
                     digital marketing activities of their top competitors, today announced the
                     closing of a $6 million round of fund ing, bringing their total venture
                     funding to $8 million.

                     International venture capital firm Flint Capital led the Series A fund ing
                     round, which included:

                             • NHN Investment, owner of Naver Corp., operator of Line, the most
                               popular messaging app in Japan and South Korea,
                             • One Way Ventures, a Boston-based venture fund led by Semyon Dukach
                               and Eveline Buchatskiy, former Directors ofTechstars in Boston.

                             • FJ Labs, led by Fabrice Grinda, who was recently named the #1 Most
                               Successful Angel Investor in the world by Forbes, [August, 2018]

                     Glilot Capital Partners and Keshet Dick Clark Productions also joined
                     the funding in early 2018. Both were participants in BrandTotal's $2 million
                     seed investment round, which closed July 2017. The Series A fund ing caps
                     off an event filled surnmer fo r Brand Total, announcing a partnership with
                     MicrosorL via Microso fl's Dy11a 111ics 365, being selecled Lo Oracle's Slarlup
                     Cloud Accelerator and having presented at Morgan Stanley's prestigious
                     Innovation Summit.

                     Funds from the Series A Round will be used to expand sales, marketing
                     and data science efforts via BrandTotal's new offices in New York as well as
                     internat ionally.

                     "The support from Flint Capital and our investment leaders has already
                     created new growth opportunities fo r BrandTotal among Fortune 500
                     companies, by allowing us to optimize and expand the roll -out of our agile
                     marketing platform," says Alon Leibovich, CEO and co-founder of
                     BrandTotal. "Our proprietary data shows that 85% of sponsored posts on
                     Facebook are 'dark posts,' meaning they are targeted to specific users.
                     There is a massive gap in marketing visibility across digital platforms and
                     we are illuminating these programs to empower marketers with actionable
                     competitive insights."

                     "We are thrilled to put our support behind the outstanding management
                     team at Brand Total, a company that provides some of the world's largest
                     organizations with unique and invaluable insights into digital marketing- a
                     space which is projected to approach $120 billion in spend by 2021 in the
                     U.S. according to Forrester Resea rch," says Sergey Gribov, Partner at Flint
                     Capital.

                     About the BrandTotal Agile Marketing Platform

                     Launched in June 201 ?, BrandTotal's agile market ing intelligence platform
                     is a Saas based solution that harnesses Al, cyber security techniques and
                     data science to distill actionable insights. The technology was developed to
                     provide brand marketers with valuable competitive intelligence about the
                     digital marketing landscape within their industry. Through campaign
                     aggregation, BrandTocal's technology detects creatives across various
                     digital channels and clusters them into campaigns for analysis. Using signal
                     detection, the platform identifies trends and outliers between brands
                     within the industry-wide competitive landscape.

                     BrandTotal's SaaS-based platform collects and consolidates both public
                     and targeted "dark" posts f rom numerous paid media channels, including
                     Facebook, lnstagram, Twitter, YouTube, Amazon and display banners
                     across the web. With a lack of transparency in the ever-evolving digital
                     marketing ecosystem, the platform can reveal a brand's opportunities and
                     threats in real time, enabling marketers to become agile with a competitive
                     edge.

                     The BrandTotal Agile fv1arketing Platform provides detailed reports and
                     cross-platform competitive analytics to help quantify brand marketing
                     initiatives, including:

                             • Target demographics

                             • Share of voice

                             • Advertising spend

                             • Creative assets

                             • Audience sentiment

                             • Active channels
                             • Engagement across multiple social platforms

                             • Organic content shares


                     About BrandTotal
                     BrandTotal uses advanced cyber security techniques and artificial
                     intelligence to reverse-engineer digital marketing programs, enabling
                     brand marketers to see and understand the strategies their competitors
                     are using to drive digital marketing.

                     With corporate marketing budgets increasingly shifting towards digital
                     channels, hyper-targeced and personalized campaigns have become more
                     popular and are inherently hidden from public view. Because digital
                     marketing is targeted to individuals, the parts that can be seen in the open
                     are just fragmen ts o f a larger strategy. There's no way to know how
                     competing companies are deploying their campaigns, who is seeing them,
                     or how effective they are.

                     In J11ly 2018, BrandTot;:il anno1 1nced a partnership with Microsoft in which
                     the tech giant will provide access to select featu res from its Agile Marketing
                     Platform to Microsoft customers through Microsoft Dynamics 365.

                     In August 2018, BrandTotal was selected to participate in Oracle's Startup
                     Cloud Accelerator, a six-month partnership in which Oracle provides
                     mentoring, access to technology, client and partner lists and other
                     resources to the world's most promising startups.

                     For more Information contact:
                     Jeffrey Keegan
                     The Dilenschneider Group
                     Jkeegan@dgi-nyc.com
                     914-482-0289




                                   About the author


                                   I                   BrandTotal Staff
                                   BrandTotal




                                                             V IE W A LL           P OS T S




                                                     Request a Demo
                Find out wha, BrandTocal can show you abou, your competitors by requesting a demo today.


                       Enter your email •                                                                    Subm it




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                        EXHIBIT 8



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 Delaware.gov                                                                                                                                                                                                          Governor I General Assembly I Courts I Elected Officials I State Agencies




 Department of State: Division of Corporations
                                                                                                                                                                                                                                                                                      Allowable Characters

 HOME
                                                                                                                  Entity Details
 About Agency
 Secretary's Letter
 Newsroom
                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING
 Frequent Questions
 Related Links
 Contact Us                                                                                                lncoq~oration Date /      11/27/2017
                                                           File Number:                   6633597
 Office Location                                                                                               Formation Date:       (mm/dd/yyyy)
 SERVICES
                                                           Entiw. Name:                   UNIMANIA, INC.
 Pay Taxes
 File UCC's
 Delaware Laws Online                                      Entiw. Kind:                   Corporation              Entiw. TY.Re:     General
 Name Reservation
 Entity Search                                             Residency_;_                   Domestic                       State:      DELAWARE
 Status
 Validate Certificate
 Customer Service Survey
                                                           REGISTERED AGENT INFORMATION
 Loading ...

                                                           Name:                          MWE CORPORATE SERVICES, LLC

                                                           Address:                       1007 NORTH ORANGE STREET, 4TH FLOOR,

                                                           City:                          WILMINGTON                   County:       New Castle

                                                           State:                         DE                     Postal Code:        19801

                                                           Phone:


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like   O Status O Status.Tax & History Information

                                                           [ Submit   I
                                                           [ View Search Results      I                    [ New Entity Search      I
For help on a particular field click on the Field Tag to take you to the help area.
                                                                                                                    site map   I   privacy   I   about this site   I   contact us   I   translate   I   delaware.gov




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                        EXHIBIT 9



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    . . chrome web store                                                                                                                    (I   Sign in




Home    > Extensions > Ads Feed



            Ads Feed                                                                                                                 Available on Chrome

            Offe red by: https://www.unimania.xyz

            ** * * ..      8   I Accessibility I .:. 6,000 + users


                                                           Overview         Reviews           Rel ated




              <                                                                                          lnstagram                          >




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            Overview                                                                                                 Additional Information

            Automatically save the ads you see on social networks and finally know                                   8   Report abuse
            which advertisers find you the most attractive online.                                                   Version
                                                                                                                     2.10.143 9
            This extension automatically saves the ads you are exposed to online so
            you can click back to those that interest you. Also, use Ads Feed to find out                            Updated
            how many ads targeted you in the last period, who are the top 5 advertisers                              July 19, 2020
            that competed for your attention on line and what ads others like you saw.                               Size
                                                                                                                     780KiB
            We collect this data by monitoring which ads you and others like you see
                                                                                                                     language
            while you browse.
                                                                                                                     English
                                                                                                                     Developer
            By installing the "Ads Feed" extension, you are officially becoming a panel
                                                                                                                     contact@unimania.xyz
            member of an elite community group that impacts the advertising decisions                                Privacy Policy
            of multi-billion dollar corporations!


            Privacy Policy and Service Terms:
            We care a lot about your privacy and we work hard to safeguard the data
            we collect and to comply will all relevant laws and regulations.

            As a panel member, we collect anonymous Facebook demographics data
            and ad related data from the sites you visit of the advertising campaigns
            lhal target you and other µanelisls. We aggregate and use this data for
            market research purposes, namely, to build special advertising related
            insights and analyses for brands that work with us.

            We do not collect, store, use, share or sell any of your personal
            information. In addition, we do not monitor your online behavior, track your
            activities or collect the web pages you visit.

            Please review our service terms and priVacy policy below to learn more
            about what data we collect about you and what we use it for. If you have
            any questions concerning your privacy, please contact us at:
            privacy@unimania.xyz.

            Privacy policy: http://privacy.unimania. xyz/privacy_policy_a f. pdf
            Service terms: http://privacy.unimania.xyz/service_terms_af.pdf

            Contact us:
            We are here for you. If you find a bug or have a new feature in mind, or if
            you have a question about the extension or your privacy, please don't
            hesitate to contact us at: contact@unimania.xyz


               Read less




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<      Turbo Ad Finder                 PreciseMagne tic for FB ...                 Info and Ads Watch                       My Ad Finder

       *** **      296                       *****          62                       * **** ,                               ****~ 12




                      Automatically save the ads you see on social networks and finally
                        know which advertisers find you the most attractive online.

                                                                      Available on Chrome




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                       EXHIBIT 10



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                       EXHIBIT 11



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                                                                      2020-07-20 - Screenshot from https://www.joinupvoice.com



UPVDICE                        WHYUS                   HOW IT WORKS       REVIEWS              REWARDS     PRIVACY          ABOUT       FAQ                    ( ) CONTINUE WITH FACEBOOK




                                                                               Get paid for the
                                                                               time ou spend on
                                                                                 ~m a
                                                                               Add the UpVoice Chrome extension to your desktop browser and start earning gift
                                                                               cards for visiting our participating sites regularly. It's THAT easy!



                                                                                     0         CONTINUE WITH FACEBOOK                           ►        WATCH V IDEO




                                                           How it works
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                            ---·•·-
                             Install                                                           Browse                                                        Earn
       After signing up, we wi ll invite you to                             Continue your regular browsing                            When you browse through our
            install the UpVoice Chrome                                                 activity                                       participating sites, the Chrome
       extension. It's safe and won't impact                                                                                         extension anonymously captures
            your browser performance                                                                                                your ads and gives you daily points
                                                                                                                                     that can later be redeemed for a
                                                                                                                                                vairiely of gifl cards




                                           0
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       ho you---~
il   are matters
     As a qualified UpVoice panelist, you become a member
     of an exclusive market research community that
     impacts the marketing decisions and brand strategies
     of multi-billion dollar corporations who want to get your
     attention online.

     Thi s means that you have a direct influence on the
     online advertising campaigns of big brands.

                                                                                                                                                                          I
     That's what being a member of this exclusive
     community is all about!




                                                            Users love it!
             Billie Lucas                                                      Shelle Perry                                               Karen Smith
             Aug 30. 2019                                                      Aug 23, 2019                                               Sep 12. 2019



             "Earning mon ey for nothing, lit erally!                          " Yau get paid just for having the
                                                                                                                                          •••
                                                                                                                                         "Th is is an awesome extension! Gett ing
             Who wouldn't add th is extension?!                                extension and visiting websit es you go                   t he abilit y t o cash out by doing wha t I
             Seriously, get p aid to visit sit es you                          to every clay anyway. W ith so m any                      normall y do is very easy!"
             already do daily anyhow. H onestly, you                           scorns out t h ere it is awesome 11:o find
             would be crazy not to addi t h is                                 somet hing t hat does what it says"
             extension"



             Sandra Amory                                                      Debra Ann Elliott                                          Madhukar Bonkuri
             Jul 9. 2019                                                       S<!p 26. 2019                                              Oct 14. 2019



             "I just received my first $1 O from                               " To be honest, I forgot I installed this, but             "I love this extension and it is real.. you
             Up Voice. I am amazed how easy it is t o                          w a s surprised to get my first $10 gift                   can get t he cash out easily!"
             accumulate poin ts w it h th is extension. I                      ca rd f or doing not hing but surfing the
             like it a lot "                                                   Int ernet. Grea t!"




                                           0
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il
     Rewards
     As soon as you're qualified as o member of our panel.
     you will begin collecting tokens, which can later be
     redeemed for a selection of e-gift cards. If you use our
     participating sites daily, you can earn even more
     rewards.

     Earn more by completing periodical surveys from
     brands who want to know what you think.
                                                                                    □
     Visit our rewards plan for more details.




                                                                                                                                                         0
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                                                                                                                Privacy
                                                                                                               We respect your privacy and protect your data using
                                                                                                               the highest security standards. We comply with all
                                                                                                               privacy regulations and we never share your personal
                                                                                                               information with anyone, except when we need to send
                                                                                                               you your rewards.

                                                                                                               We anonymise and aggregate all the data we collect
                                                                                                               from you along with other panel members.

                                                                                                               Please read our Privacy Policy and Data & Privacy FAQ
                                                                                                               for more details.




                                                                                                                     YOUR £U R£PRE S£N TATIV£




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                       EXHIBIT 12



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                                    Terms of Service
                                                 Last updated: March, 2019




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                IF YOU ARE NOT ELIGIBLE TO PARTICIPATE IN THE PANEL, THESE TERMS OF
                USE DO NOT APPLY TO YOU.
                By clicking the “accept” or “ok” button, or installing and/or or by otherwise


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                accessing or using the UpVoicemobile software application or Chrome
                desktop extension (the “Panel App”) you expressly acknowledge and agree
                that you are entering into a legal agreement with BrandTotal Ltd. and its
                af�liates(collectively, “BrandTotal”, “we”, “us” or “our”), and have reviewed,
                understood and agree to comply with, and be legally bound by, the terms and
                conditions of these Panel Terms and Conditions (“Terms”). You hereby waive
                any applicable rights to require an original (non-electronic) signature or
                delivery or retention of non-electronic records, to the extent not prohibited
                under applicable law.If you do not agree to be bound by these Terms, please do
                not download, install or use the Panel App.


                1. Background
                These Terms govern you participation in our online and/or mobile marketing
                research panel (“Panel”) and your use of the Panel App, in connection with the
                Panel, as well as the grant of permission by you to us to use your Panel Data (as
                de�ned below), in consideration for the receipt of Rewards(as de�ned below),
                all in accordance with the terms and conditions set forth herein. You are using
                the Panel App as part of your participation in the Panel. BrandTotal uses Panel
                Data to monitor, identify, analyze and research marketing campaigns directed
                at Panel participantsand shares its insights in an anonymized and aggregated
                manner, as part of BrandTotal’s marketing intelligence SaaS solution (“BT
                Services”).


                2. Ability to Accept
                The Panel is intended for users eighteen (18) years of age or older, and by
                installing the Panel App, you af�rm that you are at least eighteen (18) years of
                age. If you are under the age of eighteen (18),do not access or use this Panel
                App.


                3. Eligibility
                Your participation in any Panel conducted by BrandTotal is subject to certain
                eligibility criteria applicable to the Panel, such as: your age, location and other
                relevant demographic information. If BrandTotal decides that you are not
                eligible to participate in the Panel, you may not participate until such time that
                BrandTotal decides, at its sole discretion, that you are eligible and noti�ed you
                or your eligibility.



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                4. Tokens and Rewards

                � 4.1. Tokens
                In consideration for your participation in the Panel (if you are found eligible),
                which requires your use of third party mobile applications and/or websites,
                which include: Facebook, Instagram, Twitter, YouTube and Amazon (“Third
                Party Applications”) and your grant of the Permission to us, BrandTotal offers
                you virtual tokens which may be exchanged for Rewards (“Tokens”). You will
                be eligible to receive Tokens in accordance with the terms and conditions set
                forth in the Panel App. The Tokens won will be added and displayed in the
                balance of your Account (as de�ned below).

                � 4.2. Restriction on Use of Tokens
                Your Tokens shall be credited to your Account, and are non-transferrable.
                Tokens may be exchanged for Rewards (as de�ned below) solely for yourself,
                and you may not use Tokens to register to obtain Rewards for any other user
                other than yourself or for any third party. It is hereby clari�ed that, Tokens may
                not be redeemed or exchanged for any cash, or other monetary or non-
                monetary value, except for Rewards in accordance with these Terms. You shall
                not use any automated or fraudulent means to manipulate the Token balance
                on your Account.

                � 4.3. Rewards
                In consideration for, and subject to, your participation in our Panel and use of
                Third Party Application, and your grant of the Permission to us, BrandTotal will
                offer you the option to exchange your Tokens for certain rewards (“Rewards”),
                in accordance with the terms and conditions separately set forth in the Panel
                App. The nature, variety, availability, offering and scope of Rewards, the
                amount of Tokens required for each Reward, as well as any other terms and
                conditions related to the offering of Rewards in the Panel App, shall be
                determined by us, at our sole and absolute discretion. For example purposes
                only, Rewards may, without limitation, include cash payments, vouchers,
                coupons, gift cards or other rewards for participating in the Panel. Each time
                you redeem Tokens to receive a Reward, they will be deducted from the
                balance of your Account. Any exchange of Tokens for Rewards is �nal.
                Rewards cannot be cancelled or returned, and Tokens exchanged for a Reward
                will not be reimbursed or returned to a user, whether or not you have redeemed
                your Reward. You may exchange your tokens for a Reward only if you have in



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                your account balance the amount of Tokens required for such Reward (as set
                forth in the Panel App). If you have less than the amount of Tokens required for
                such Reward, as set forth in the Panel App, you shall not be entitled to
                exchange such Tokens for a Reward.

                � 4.4.
                IT IS CLARIFIED THAT IF YOU DO NOT USE THIRD-PARTY APPLICATIONS,
                YOU SHALL BE CONSIDERED A NON-ACTIVE USER AND THEREFORE YOU
                WILL NOT BE ENTITLED TO RECEIVE ANY TOKENS IN ADDITION TO THOSE
                THAT EXIST IN YOUR ACCOUNT TOKEN BALANCE AT THE TIME THAT YOU
                BECOME AN IN-ACTIVE USER.

                � 4.5. Taxes
                You have the sole responsibility for any taxes or other charges imposed by any
                government entity associated with any Rewards or other compensation which
                you may receive for using the Panel App and to the extent that any such taxes
                may be imposed upon us, we may deduct such amounts from any payments
                due to the you, including without limitation any withholding taxes.

                � 4.6. Account Data
                All issuances of Rewards are subject to your Account Data (de�ned below) and
                other information and documentation as we may request from you from time to
                time. You understand that we may not, at our sole discretion, provide you with
                any Rewards if you fail to provide such information or documentation or if your
                Account Data is determined in our discretion to be incorrect or incomplete.

                � 4.7. Additional Terms
                4.7.1. Your receipt and redemption of Rewards shall be subject to and
                conditioned upon granting us the permission to collect, access or use Panel
                Data (as de�ned below), as well complying with these Terms, and any other
                requirements displayed in the Panel App with respect to the relevant Reward.
                4.7.2. The Rewards program is void where prohibited.
                4.7.3. You acknowledge that upon termination of these Terms and/or your
                Panel participation for any reason, you shall no longer be eligible to receive
                and/or claim any Rewards, and any eligibility you may have under the App to
                receive Rewards shall be void, and you shall have no claim against us with
                respect to the foregoing,



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                4.7.4. You shall be solely responsible for claiming your Rewards, when
                applicable, before they expire.
                4.7.5. You shall be responsible for paying all shipping and handling charges for
                any Reward selected, if applicable, as disclosed at the time of redemption, and
                our obligation regarding delivery of Reward redemptions is satis�ed upon
                shipping the selected redemption item to the postal or email address you have
                provided with us in the Panel App. We are not responsible for lost or stolen
                Reward items. Once Rewards have been redeemed, they are no longer valid for
                any subsequent redemption and they may not be returned or refunded to your
                Account for any reason. No extensions, cash refunds or other exchanges will
                be allowed for expired Rewards.
                4.7.6. We reserve the right to withhold from providing you with any Rewards in
                case we have reason to believe you have breached these Terms. In the event of
                your noncompliance, fraud or other inappropriate activity (as determined by
                us, in our sole and absolute discretion), BrandTotal may cancel or invalidate
                your Rewards, deny redemption of your Rewards, or restrict, block, limit, and
                prevent your access to and use of your Account and/or the Panel App and,
                further, all Rewards shall be subject to forfeiture.
                4.7.7. Without prejudice to the above, we also reserve the right to invalidate
                Rewards from your Account if we determine that such Rewards were
                improperly credited to such Account or obtained fraudulently. Rewards
                expired for any reason will be forfeited without compensation and shall no
                longer be valid or usable.
                4.7.8. BrandTotal shall not be responsible or liable for any printing, production,
                typographical, mechanical or other errors in the Rewards summaries that may
                be displayed in the Panel App, or for any delay or failure to credit Rewards to
                your Account.
                4.7.9. Rewards are not redeemable for cash, transferable or assignable for any
                reason. The sale, barter, transfer or assignment of any Reward, other than by
                BrandTotal is strictly prohibited.
                4.7.10. Rewards provided by or through third parties are governed by rules and
                Terms between you and such third parties.
                4.7.11. BrandTotal may, at any time and at its sole discretion, change the
                Reward policies, including, without limitation, establishing additional means
                of accruing Rewards, modifying and deleting any or all of the recognized
                means of accruing Rewards existing at any given time, changing the Rewards
                available and their values and types and the Rewards redemption terms and
                expiration dates, and changing the applicable eligibility terms. SUCH


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                CHANGES TO THE REWARD POLICIES MAY AFFECT THE REDEMPTION
                VALUE OF THE REWARDS ALREADY ACCUMULATED OR THE AVAILABILITY
                OF REDEEMABLE REWARDS. YOU AGREE THAT YOU WILL REVIEW THESE
                TERMS AND ANY APPLICABLE ADDITIONAL TERMS INCLUDED IN THE
                PANEL APP PERIODICALLY AND THAT YOU SHALL BE BOUND BY THESE
                TERMS AND ANY MODIFICATIONS HEREOF.


                5. Data
                5.1. In order to participate in the Panel and provide you with the Tokens and the
                Rewards, during your participation in the Panel, while you use third party
                mobile applications and/or websites (social media and/or others), (i) we will
                collect and store data which includes a randomly generated device ID and user
                ID as well as data about sponsored campaigns, sponsored posts or
                advertisements that target you directly or that have been shared with you on
                speci�c mobile applications, social media and/or other websites, as applicable;
                and (ii) we will complement these data with general demographic and pro�le
                information, which we collect from you as part of your registration/quali�cation
                to the Panel App and/or from your Facebook pro�le, like your age, your gender,
                where you live (by region), your relationship status and your general interests.
                You may also provide us with, and we may collect, additional information when
                you answer certain survey questions. All of the data collected and/or provided
                by you as described in this Section 5.1 shall be referred to hereinafter as “Panel
                Data”.
                5.2. BrandTotal shall use the results and information derived from your Panel
                Data in connection with the BT Services, as further described in our Privacy
                Policy.
                5.3. IF YOU DO NOT WANT US TO COLLECT AND/OR USE YOUR DATA OR
                THE PANEL DATA, YOU WILL NOT BE ELIGIBLE TO PARTICIPATE IN THE
                PANEL, RECEIVE TOKENS OR CLAIM REWARDS.
                5.4. If you request the deletion of your Panel Data or exercise a right available to
                you under applicable law, which restricts our ability to use your Panel Data
                and/or other personal data that you provide, then you will no longer be eligible
                to continue to participate in our Panel, these Terms shall terminate, and the
                terms of section 18 (Termination) shall apply.
                5.5. If you make a request pursuant to Section 5.4, then:(i) We will anonymize
                your Panel Data and continue to use such data in an anonymized manner
                only;(ii) you shall not be entitled to receive Tokens in addition to those then
                existing in your Account balance; and(iii) if you request to delete or restrict us


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                from using any data required by BrandTotal for (a) verifying your eligibility for
                participation in the Panel and/or use of the Panel App, (b) communicating with
                you regarding your participation in the Panel, (c) offering and providing you
                with rewards in connection with your use of Third Party Applications; or (d)
                offering BT Services, then you will no longer be able to receive Rewards. IF YOU
                WISH TO EXCHANGE YOUR TOKENS FOR REWARDS AND ARE ELIGIBLE TO
                DO SO, IN ACCORDANCE WITH THE TERMS OF THIS AGREEMENT, YOU MAY
                ONLY DO SO PRIOR TO MAKING SUCH REQUEST.


                6. App License and Use Restrictions

                � 6.1. License
                Subject to the terms and conditions of these Terms, we hereby grant you a
                personal, revocable, non-exclusive, non-sublicensable, non-assignable, non-
                transferable license (“License”) to: (i) download, install and use the Panel App
                on a computer, mobile telephone, tablet or device (each a "Device") that you
                own or control; and (ii) access and use the Panel App on that Device in
                accordance with these Terms and any applicable Usage Rules (de�ned below),
                all solely for the term of these Terms and for the purpose of your participation in
                the Panel.

                � 6.2. Restrictions
                You agree not to, and shall not permit any third party to:
                (i) sublicense, redistribute, sell, lease, lend or rent the Panel App;
                (ii) make the Panel App available over a network where it could be used by
                multiple devices owned or operated by different people at the
                (iii) disassemble, reverse engineer, decompile, decrypt, or attempt to derive the
                source code of, the Panel App;
                (iv) copy (except for back-up purposes), modify, improve, or create derivative
                works of the Panel App or any part thereof;
                (v) circumvent, disable or otherwise interfere with security-related features of
                the Panel App or features that prevent or restrict use or copying of any content
                or that enforce limitations on use of the Panel App;
                (vi) remove, alter or obscure any proprietary notice or identi�cation, including
                copyright, trademark, patent or other notices, contained in or displayed on or
                via the Panel App;



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                (vii) use any communications systems provided by the Panel App to send
                unauthorized and/or unsolicited commercial communications;
                (viii) use the BrandTotal name, logo or trademarks without our prior written
                consent; and/or (ix) use the Panel App to violate any applicable laws, rules or
                regulations, or for any unlawful, harmful, irresponsible, or inappropriate
                purpose, or in any manner that breaches these Terms.

                � 6.3. App Usage Rules
                If you are downloading the Panel App from a third party mobile device platform
                or service provider (“Distributor”), please be aware that the Distributor may
                have established usage rules which also govern your use of the Panel App
                (“Usage Rules”),depending on where the Panel App has been downloaded
                from.You acknowledge that, prior to downloading the Panel App from a
                Distributor, you have had the opportunity to review and understand, and will
                comply with, its Usage Rules.The Usage Rules that are applicable to your use
                of the Panel App are incorporated into this Agreement by this reference.You
                represent that you are not prohibited by any applicable Usage Rules and/or
                applicable law from using the Panel App; if you are unable to make such a
                representation you are prohibited from installing and/or using the Panel App.


                7. Account and Eligibility
                7.1. In order to use some of the Panel App features and as a conditions to
                participation in the Panel as a panelist, you would have to create or use an
                account (an “Account”).If you create an Account, you must provide accurate,
                current and complete personal information about yourself (“Account Data”)
                and you must maintain and update the Account Data and any other
                information you provide to us.You are solely responsible for the activity that
                occurs in your Account, and you must keep your Account password secure.You
                must notify us immediately of any unauthorized use of your Account. You are
                not permitted to create more than one Account to use the Panel App.
                7.2. You agree not to provide inaccurate, misleading or false information in
                connection with your use of the Panel App. If information you have provided to
                us subsequently becomes inaccurate, misleading or false, you will promptly
                notify us of any change.
                7.3. We have a right to refuse the registration for any reason, including but not
                limited to any suspicious activity regarding invalid or false Account Data.
                Registration can be limited, for example, in terms of territory.



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                8. Intellectual Property Rights

                � 8.1. Ownership
                The Panel App is licensed and not sold to you under this Terms and you
                acknowledge that BrandTotal and its licensors retain all title, ownership rights
                and Intellectual Property Rights (de�ned below) in and to the Panel App (and
                its related software).We reserve all rights not expressly granted herein to the
                Panel App. “Intellectual Property Rights” means any and all rights in and to
                any and all trade secrets, patents, copyrights, service marks, trademarks,
                know-how, or similar intellectual property rights, as well as any and all moral
                rights, rights of privacy, publicity and similar rights of any type under the laws
                or regulations of any governmental, regulatory, or judicial authority, whether
                foreign or domestic.

                � 8.2. Content
                The content on the Panel App, including without limitation, the text,
                information, documents, descriptions, products, software, graphics, photos,
                sounds, videos, interactive features, and services (the “Materials”), and the
                trademarks, service marks and logos contained therein (“Marks”, and together
                with the Materials, the “Content”), is the property of BrandTotaland/or its
                licensors and may be protected by applicable copyright or other intellectual
                property laws and treaties. “BrandTotal” and the BrandTotal logo are Marks of
                BrandTotal and its af�liates. All other Marks used on the Panel App are the
                trademarks, service marks, or logos of their respective owners.

                � 8.3. Use of Content
                The content on the Panel App is provided to you “as is” for your personal use
                only and may not be used, copied, distributed, transmitted, broadcast,
                displayed, sold, licensed, de-compiled, or otherwise exploited for any other
                purposes whatsoever without our prior written consent. If you download or
                print a copy of the content you must retain all copyright and other proprietary
                notices contained therein.


                9. Information Description
                We attempt to be as accurate as possible. However, we cannot and do not
                warrant that the content available on the Panel App is accurate, complete,
                reliable, current, or error-free. We reserve the right to make changes in or to the


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                content, or any part thereof without the requirement of giving you any notice
                prior to or after making such changes to the content


                10. Privacy
                We will use any personal information that we may collect or obtain in
                connection with the Panel App in accordance with our privacy policy which is
                available -
                          her.
                            -
                PLEASE READ OUR PRIVACY POLICY BEFORE ACCEPTING THESE TERMS.


                11. Third Party Sources and Content
                11.1. The Panel App enables you to view, access, link to, and use content from
                Third Party Sources (de�ned below) that are not owned or controlled by us
                (“Third Party Content”). The Panel App may also enable you to communicate
                and interact with Third Party Sources. “Third Party Source(s)” means: (i) third
                party websites and services; and (ii) our partners and customers.
                11.2. We are not af�liated with and have no control over any Third Party
                Sources. We do not assume any responsibility for the content, terms of use,
                privacy policies, actions or practices of, any Third Party Sources. Please read
                the terms of use and privacy policy of any Third Party Source that you interact
                with before you engage in any such activity.
                11.3. We are not responsible for, and we expressly disclaim all warranties
                regarding, the accuracy, appropriateness, usefulness, safety, or Intellectual
                Property Rights (de�ned below) of, or relating to, any Third Party Content.
                11.4. We do not endorse any advertising, promotions, campaigns, products,
                services or other materials that is included in any Third Party Content or that is
                communicated to you from a Third Party Source.
                11.5. By using the Panel App you may be exposed to Third Party Content that is
                inaccurate, offensive, indecent, or objectionable. You always have the choice of
                deciding whether or not to interact with a Third Party Source or to view and use
                Third Party Content. Your interaction with a Third Party Source and your use of,
                and reliance upon, any Third Party Content is at your sole discretion and risk.
                11.6. You are solely responsible and liable for your interaction with a Third
                Party Source. You agree to waive, and hereby do waive, any legal or equitable
                rights or remedies you may have against BrandTotal, and release BrandTotal
                from any and all liability, arising from your use of and interaction on any Third



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                Party Content and from your interaction with any Third Party Source. If you
                have any query or complaint regarding a Third Party Source or any Third Party
                Content, you agree to contact the Third Party Source directly.


                12. Third Party Open Source Software
                Portions of the Panel App may include third party open source software that
                are subject to third party terms and conditions (“Third Party Terms”). A list of
                any third party open source software and related Third Party Terms is
                available at:
                privacy.joinupvoice.com/upvoice_3rd_party.pdf.
                If there is a con�ict between any Third Party Terms and the terms of these
                Terms, then the Third Party Terms shall prevail but solely in connection with the
                related third party open source software. Notwithstanding anything in these
                Terms to the contrary, BrandTotal makes no warranty or indemnity here under
                with respect to any third party open source software.


                13. Warranty Disclaimers
                13.1. THE PANEL APP IS PROVIDED ON AN “AS IS” AND “AS AVAILABLE”
                BASIS WITHOUT WARRANTIES OF ANY KIND INCLUDING, WITHOUT
                LIMITATION, REPRESENTATIONS, WARRANTIES AND CONDITIONS OF
                MERCHANT ABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE, NON-
                INFRINGEMENT, AND THOSE ARISING BY STATUTE OR FROM A COURSE OF
                DEALING OR USAGE OF TRADE.
                13.2. WE DO NOT WARRANT THAT THE PANEL APP WILL OPERATE ERROR-
                FREE, THAT THE PANEL APP IS FREE OF VIRUSES OR OTHER HARMFUL
                CODE OR THAT WE WILL CORRECT ANY ERRORS IN THE PANEL APP.YOU
                AGREE THAT WE WILL NOT BE HELD RESPONSIBLE FOR ANY
                CONSEQUENCES TO YOU OR ANY THIRD PARTY THAT MAY RESULT FROM
                TECHNICAL PROBLEMS INCLUDING WITHOUT LIMITATION IN
                CONNECTION WITH THE INTERNET (SUCH AS SLOW CONNECTIONS,
                TRAFFIC CONGESTION OR OVERLOAD OF OUR OR OTHER SERVERS) OR
                ANY TELECOMMUNICATIONS OR INTERNET PROVIDERS.
                13.3. IF YOU HAVE A DISPUTE WITH ANY OTHER APP USER, YOU AGREE
                THAT WE ARE NOT LIABLE FOR ANY CLAIMS OR DAMAGES ARISING OUT
                OF OR CONNECTED WITH SUCH A DISPUTE.WE RESERVE THE RIGHT, BUT
                HAVE NO OBLIGATION, TO MONITOR ANY SUCH DISPUTE.
                13.4. Applicable law may not allow the exclusion of certain warranties, so to


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                that extent such exclusions may not apply.


                14. Limitation of Liability
                14.1. UNDER NO CIRCUMSTANCES SHALL BRANDTOTAL BE LIABLE FOR
                ANY SPECIAL, DIRECT, INDIRECT, INCIDENTAL, PUNITIVE OR
                CONSEQUENTIAL DAMAGES, OR FOR ANY LOSS OF DATA, REVENUE,
                BUSINESS OR REPUTATION, THAT ARISES UNDER OR IN CONNECTION
                WITH THESE TERMS, OR THAT RESULTS FROM THE USE OF, OR THE
                INABILITY TO USE, THE PANELAPP EVEN IF BRANDTOTAL HAS BEEN
                ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.
                14.2. IN ANY EVENT, BRANDTOTAL’S TOTAL AGGREGATE LIABILITY FOR ALL
                DAMAGES AND LOSSES THAT ARISE UNDER OR IN CONNECTION WITH
                THESE TERMS, OR THAT RESULT FROM YOUR USE OF OR INABILITY TO USE
                THE PANEL APP, SHALL NOT IN ANY CIRCUMSTANCE EXCEED THE TOTAL
                AMOUNTS, IF ANY, THAT BRANDTOTAL ACTUALLY PAYS YOU FOR USING
                THE PANEL APP WITHIN THE THREE (3) MONTHS PRECEDING THE DATE OF
                BRINGING A CLAIM.


                15. Indemnity
                You agree to defend, indemnify and hold harmless BrandTotal and our
                af�liates, and our respective of�cers, directors, employees and agents, from
                and against any and all claims, damages, obligations, losses, liabilities, costs
                and expenses (including but not limited to attorney's fees) arising from: (i) your
                use of, or inability to use, the Panel App; (ii) your violation of any of these Terms;
                and (iii) your violation, infringement or misappropriation of any applicable law
                or any third party right, including, without limitation, any copyright, property,
                publicity or privacy right.Without derogating from or excusing your obligations
                under this section, we reserve the right (at your own expense), but are not
                under any obligation, to assume the exclusive defense and control of any
                matter which is subject to an indemni�cation by you if you choose not to defend
                or settle it.You agree not to settle any matter subject to an indemni�cation by
                you without �rst obtaining our express approval.


                16. Export Laws
                You agree to comply fully with all applicable export laws and regulations to
                ensure that neither the Panel App nor any technical data related thereto are



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                exported or re-exported directly or indirectly in violation of, or used for any
                purposes prohibited by, such laws and regulations.


                17. Updates and Upgrades
                We may from time to time provide updates or upgrades to the Panel App (each
                a “Revision”), but are not under any obligation to do so.Such Revisions will be
                supplied according to our then-current policies, which may include automatic
                updating or upgrading without any additional notice to you.You consent to any
                such automatic updating or upgrading of the Panel App.All references herein
                to the Panel App shall include Revisions.These Terms shall govern any
                Revisions that replace or supplement the original App, unless the Revision is
                accompanied by a separate license Terms which will govern the Revision.


                18. Term and Termination
                18.1. You can terminate these terms at any time by sending us a request at:
                contact@joinupvoice.com or by uninstalling the App. These Terms and your
                membership in the Panel is effective until terminated by us or you for any
                reason.We reserve the right, at any time, to: (i) discontinue or modify any
                aspect of the Panel App; and/or (ii) terminate these Terms, your membership in
                the Panel and your use of the Panel App with or without cause, and shall not be
                liable to you or any third party for any of the foregoing.If you object to any term
                or condition of these Terms or any subsequent modi�cations thereto, or
                become dissatis�ed with the Panel App in any way, your only recourse is to
                immediately discontinue use of the Panel App, thus ceasing your membership
                in the Panel. Upon Termination of these Terms and/or your Participation in the
                Panel, your Token balance will be nulli�ed, and you will no longer be permitted
                to receive and/or redeem Rewards.
                18.2. Upon termination of these Terms:(i) you shall cease all use of the Panel
                App; (ii) your membership of the Panel shall terminate and any Rewards to
                which you may be eligible will be void; (iii) your Token balance will be nulli�ed,
                and you shall not be entitled to exchange any Tokens for Rewards after
                termination of this Agreement; (iv) we will anonymize your Panel Data and
                continue to use such data in an anonymized manner only;and (v)This Section
                18.2 and Sections 5.2,8(Intellectual Property Rights), 10 (Privacy), 11 (Third
                Party Sources and Content), 12 (Third Party Open Source Software), 13
                (Warranty Disclaimers), 14 (Limitation of Liability), 15 (Indemnity), and 19
                (Assignment) to 22(General) shall survive termination of these Terms. IF YOU
                WISH TO EXCHANGE YOUR TOKENS FOR REWARDS AND ARE ELIGIBLE TO


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                DO SO IN ACCORDANCE WITH THE TERMS OF THIS AGREEMENT, YOU MAY
                ONLY DO SO PRIOR TO TERMINATING THIS AGREEMENT.


                19. Assignment
                These Terms, and any rights and licenses granted here under, may not be
                transferred or assigned by you but may be assigned by BrandTotal without
                restriction or noti�cation. Any prohibited assignment shall be null and void.


                20. Modi�cation
                We reserve the right to modify these Terms at any time by publishing the
                revised Terms at: https://joinupvoice.com/tos. Such change will be effective ten
                (10) days following the foregoing noti�cation thereof, and your continued use
                of the Panel App thereafter means that you accept those changes.


                21. Governing Law and Disputes
                These Terms shall be governed by and construed in accordance with the laws
                of the State of Israel without regard to its con�ict of laws rules. You agree to
                submit to the personal and exclusive jurisdiction of the courts located in Tel
                Aviv-Jaffa, and waive any jurisdictional, venue, or inconvenient forum
                objections to such courts. Notwithstanding the foregoing, we may seek
                injunctive relief in any court of competent jurisdiction.


                22. General
                These Terms, and any other legal notices published by us in connection with
                the Panel App, shall constitute the entire Terms between you and BrandTotal
                concerning the Panel App.In the event of a con�ict between these Terms and
                any such legal notices, the terms of the applicable notice shall prevail with
                respect to the subject matter of such notice.No amendment to these Terms will
                be binding unless in writing and signed by BrandTotal. If any provision of these
                Terms is deemed invalid by a court of competent jurisdiction, the invalidity of
                such provision shall not affect the validity of the remaining provisions of these
                Terms, which shall remain in full force and effect.No waiver of any term of these
                Terms shall be deemed a further or continuing waiver of such term or any other
                term, and a party's failure to assert any right or provision under these Terms
                shall not constitute a waiver of such right or provision.



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                YOU AGREE THAT ANY CAUSE OF ACTION THAT YOU MAY HAVE ARISING
                OUT OF OR RELATED TO THE PANEL APP MUST COMMENCE WITHIN ONE
                (1) YEAR AFTER THE CAUSE OF ACTION ACCRUES.OTHERWISE, SUCH
                CAUSE OF ACTION IS PERMANENTLY BARRED. NOTHING IN THESE TERMS
                IS INTENDED TO EXCLUDE OR LIMIT YOUR RIGHTS UNDER APPLICABLE
                LAW THAT CANNOT BE EXCLUDED OR LIMITED.PLEASE READ THE
                FOLLOWING CAREFULLY BEFORE INSTALLING AND/OR USING THE PANEL
                APP.



                Related: UpVoice Privacy Policy



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                       EXHIBIT 13



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                                             2020-07-20 - Screenshot from https://www.joinupvoice.com/#participating-sites




                                 UpVoice Participating sites currently include:

                                  0      Facebook

                                  'II Twitter

                                  a      YouTube

                                  fffl   Linkedln

                                  a      Amazon




Page URL: https ://www.joinupvoice.com/#participati ng-sites
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                       EXHIBIT 14



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      1g_me 1a_ree _count: this . ree oun ,
      ig_media_ad_action: I,
      ig_media_id: _,
      ig_rnedia_user_id: p.media_or _ad. user. pk. toString ( l ,
      ig_rnedia_type: r (p.media_or_ad . rnedia_type) ,
      ig_created_tirne: P,
      ig_media_shortcode : p. media_or_ad . code ,
      ig_media_image_url: b,
      ig_media_video_url : v,
      ig_media_location_id: g,
      ig_media_text: A,
      ig_carousel_media_info: y ,
      ig_media_comments_count: p.media_or_ad . comment_count,
      ig_media_likes_count : p.media_or_ad, like_count,
      ig_media_views_count: p.media_or_ad.view_count,
      ig_media_cta_text: p. rnedia_or_ad . link_text ,
      ig_user_username: p.media_or_ad.user.username ,
      ig_profile_img_url: p.media_or_ad.user.profile_pic_url,
      ig_user_full_name: p. media_or_ad.user . full_name,
      ig_user_is_unpublished: p. media_or_ad.user . is_unpublished,
      ig_media_link: p. media_or_ad . link ,
      ig_media_overlay_text: p.media_or_ad.overlay_text,
      ig_media_ad_title: p. media_or_ad . injected.ad_title,
      ig_media_content_type: C,
      ig_media_overlay_title: p. media_or_ad.overlay_title,
      ig_media_video_duration : p.media_or_ad . video_duration,
      debugging_info : {
        user : {
          is_unpublished: p.media_or_ad . user . is_unpublished,
          friendship_status: p.media_or_ad . user . friendship_status ,
          full_name: p. media_or_ad.user . full_name,
          pk : p.media_or_ad.user.pk ,
          profile_pic_url: p.media_or_ad . user . profile_pic_url ,
          username: p. media_or_ad.user.username ,
          has_anonymous_profile_picture: p.media_or_ad . user.has_anonymous_profile_picture,
          is_favorite: p.media_or_ad.user.is_favorite,
          is_private : p.media_or_ad.user , is_private,
          is_verified: p.media_or_ad.user.is_verified ,
          profile_pic_id : p. media_or_ad . user . profile_pic_id
          },
          Caption_is_edited: p.media_or_ad,caption_is_edited,
          comment_likes_enabled : p.media_or_ad . comment_likes_enabled ,
          comment_threading_enabled: p.media_or_ad . comment_threading_enabled ,
          has_audio : p. media_or_ad.has_audio ,
          has_liked: p.media_or_ad.has_liked,
          inventory_source : p. media_or_ad , inventory_source ,
          tab_id: this . tabld,
          instanceMagicHeader: this .magicHeader
      }
    }, this . log. info ("instance" -, this .magicHeader ~ " Found an ad!" + F. ig_media_shortcode , F, pl , l. push (Fl
}   ,,1 , this .reelCount • this .max_id f.next_max_id t () 12, {
                                                                   66
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                       EXHIBIT 15



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    } , t . prototype . interactionHash ~ function (t , e ) {
       re       {
          fb_post_hashed_entity_id: o.e. salted_hash (t.fb_post_entity_id, e),
          fb_user_hashed_id: this . getUserHashes (t.fb_user_id).fb_user_hashed_id
      }
    } ,- t . ~ cebookMetadata = function ( t ) {
        re · , {
           fb_meta_gender: t.gender,
           fb_meta_dob_month: t.birthday.month,
           fb_meta_dob_year: t.birthday.year,
           fb_meta_relationship_status: t.relationshipStatus,
           fb_meta_user_locale: t. locale
      }
    } , t . geoData - function (t ) {
       var e = t.countryiso2,
          n t.state;
       re       {
          geo_current_location_country: t.country,
          geo_current_location_country_iso: e,
          geo_current_location_state: n,
          geo_current_location_region: t.region,
          geo_current_location_metro_code: t.metro_code
      }
    }, t
  }()
 function (t , e , n ) {
'use strict" ;

unction r (t ) {
 return d(this , vo ·d 0 , :c ·d 0 , function () {
   var e, n, r, a, c, l, h, d;
   retur1 p(this , function (p ) {
     switch (p.label) {
       case 0 :
          return (4 , f () ? u(t) : o (t)];
       case 1:
          return e - p. sent () , n = e. id , r ~ e. locale , a = e. use rNameOn lyForAnonymizingTheHTMLDoNotSend , (4 , s ( t)] ;
       case 2:
          return c -- p. sent () , l = c.birthday , h = c.gender , (4 , i (t)];
       case 3 :
          return d - p. sent () , (2, {
             id: n,
             birthday: l,
             gender: h,
             locale: r,
             relationshipStatus: d,
             userNameOnlyForAnonymizingTheHTMLDoNotSend: a
         }]


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                       EXHIBIT 16



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             };
             ,-ei _; rn a - {
                next: n (0 ),
                throw: n ( l ),
                return : n ( 2 )
             } . "function"                                        "· Symbol   (a [Symbol . iterator ] - function () {
                                                  this
             })            a
        },
                      [],
        b                           Map (          I
             ["0" , "Unspecified" ],
             ( 1 11
                     Single
                      11
                           ,
                                    11                   11
                                                              ],


             ["2" , "In a relationship" ],
             ["5" , "Engaged" ],
             ["4" , "Married" ],
             ["10" , "In a civil union" ],
             ["11" , "In a domestic partnership" ],
             ["3" , "In an open relationship" ],
             ["6" , "It's complicated" ],
             ["8" , "Separated" ],
             ["9" , "Divorced" ],
             ["7" , "Widowed" ]
        ll
}, function ( t , e , n) {
  11
       use st rict                       11
                                              ;
                      II       II



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                       EXHIBIT 17



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function c ( t ) {
  return d(this , void 0 , void 0 , function () {
    var e, n, r, i;
    return p(this , function (o ) {
      switch (o. label) {
        case 0 :
           return 14, t ( "https: / /mbasic. facebook. com/edi tp rof i le. php?type=basic&edi t=birthday&r=" + Date . now ())] ;
        case 1 :
           return e = a. sent () , n = Object (h.j) (e) , Object (h.q) (n) , r = function () {
               var t = n. querySelector ("selectlname=year]" );
               if ( !t) return null ;
               if ( !t.value) return null ;
               var e = Number . parseint (t.value, 10 );
               return Number . isNaN (e) ? null : e
          }() , i = function () {
               var t = n. que rySe lecto r ( "select lname=month] " );
               if ( !t) return null ;
               if ( !t.value) return null ;
               var e = Number . parseint (t.value, 10 );
               return Number . isNaN (e) ? null : e
                  }() , 12, {
                       year: r,
                       month: i
                  }]
              }
         })
    })
}

function l ( t ) {
  return d(this , void 0 , void 0 , function () {
    var e, n, r;
    return p(this , function (i ) {
      switch (i. label) {
        case 0 :
           return 14, t ("https://m.facebook.com/language.php?r=" + Date . now ())];
        case 1 :
           return e = i. sent () , n = e. match (/" ?currentlocale" ? : ?( \{IA}] +? \} )/ ) , n && ni l ] && (r = ni l ] . match (/" ?locale_code" ? : ?"( IA"] +? )"/ )) && ri l l ?
               l ] l : 12, null ]
              }
         })
    })
}


                                                                                         72
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                       EXHIBIT 18



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function s ( t ) {
  return d ( this , voi.d 0 , voi.d 0 , function () {
    return p ( this , function ( e ) {
              return (2 , t ( "https: / /m. facebook. com/profile/edit/ infotab/section/fo rms/?section=basic-info" ). then ( function ( t ) {
                var e = Object (h.j)(t);
                return Object (h.q)(e) , e
              }). then ( function (e ) {
                return d ( this , void 0 , void 0 , function () {
                   var n, r, i, 0 1 s;
                    return p ( this , function ( a ) {
                      switch (a.label) {
                         case 0 :
                           return n = e. querySelector ( "input[name=gender] [type=radio] [checked]" ) , r = null , n instanceof HTMLinputElement && (r = "l"   n.value   7   "
                             Female" : "2" === n.value ? "Male" : "Other" ) , (4 , c (t)l;
                         case 1 :
                           return i = a. sent () , o = i.yea r , s = i.month , (2 , {
                             birthday: {
                                year: o,
                                month: s
                                   },
                                   gender: r
                              }]
                          }
                     })
                })
              }ll
         })
    })
}

function a ( t ) {
    re, '.   t ( "https: / /www.facebook .com/ads/prof i le/ inte rests/?dp r=l" ,   I
       ["X-Requested-With" , "XMLHttpRequest" ]
    ], 12e4 ). then ( function ( t ) {
       return JSON . parse (t. replace ("for (;;);" , "" ))
    }). then ( function ( t ) {
       return t.payload.inte rests
    })
}

                                                                                               74
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                       EXHIBIT 19



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            }
       })
   })
} , t . prototype . enrichinterestsEvent     function (e ) {
   return a(this , void 0 , void 0 , function () {
      var n, r, i, o;
      return u(this , function (a ) {
         switch (a. label) {
           case 0 :
             return n = new Date , (4, Promise . all ( [this . getFacebookMetadataForUserOrNulls (e.fb_user_id), this . locationService. getlocation ()] )];
           case 1:
             return r - a. sent () , i = r[ 0] , o = ri l l , (2, s ({
               fb_user_interests: e.fb_user_interests,
               event_time: n,
               browser_time_zone: n. getTimezoneOffset () / 60 * -1
             }, t. facebookMetadata (i), t. geoData (o), this . getUserHashes (e.fb_user_id), t. googleData (), {
               third_party_id: this .thirdPartyid,
               third_party_cookie: this .thirdPartyCookie,
               device_id: this .deviceid,
               user_agent: this .userAgent,
               extension_id: this .extensionid,
               extension_version: this .extensionVersion
             })l
            }
       })
  })

                                                                                76
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                       EXHIBIT 20



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} t . pickFieldsToSendSponsored         function (t ) {
         '   {
      fb_post_actionlink_url: t.fb_post_actionlink_url,
      fb_post_advertiser_page_pretty_name: t.fb_post_advertiser_page_pretty_name,
      fb_post_advertiser_page_id: t.fb_post_advertiser_page_id,
      fb_post_advertiser_thumbnail_url: t.fb_post_advertiser_thumbnail_url,
      fb_post_call_to_action_text: t.fb_post_call_to_action_text,
      fb_post_call_to_action_url: t.fb_post_call_to_action_url,
      fb_post_img_url: t.fb_post_img_url,
      fb_post_src: t.fb_post_src,
      fb_post_text: t.fb_post_text,
      fb_post_type: t.fb_post_type,
      fb_post_video_url: t.fb_post_video_url,
      fb_post_video_views: t.fb_post_video_views,
      fb_post_this_video_views: t.fb_post_this_video_views,
      fb_post_entity_id: t.fb_post_entity_id,
      fb_post_engage_angry: t.fb_post_engage_angry,
      fb_post_engage_comments: t.fb_post_engage_comments,
      fb_post_engage_haha: t.fb_post_engage_haha,
      fb_post_engage_like: t.fb_post_engage_like,
      fb_post_engage_love: t.fb_post_engage_love,
      fb_post_engage_sad: t.fb_post_engage_sad,
      fb_post_engage_shares: t.fb_post_engage_shares,
      fb_post_engage_wow: t.fb_post_engage_wow,
      fb_post_width: t.fb_post_width,
      fb_post_height: t.fb_post_height,
      fb_post_app_id: t.fb_post_app_id,
      fb_post_app_pretty_name: t.fb_post_app_pretty_name,
      fb_post_app_thumbnail_url: t.fb_post_app_thumbnail_url,
      fb_post_carousel_info: t.fb_post_carousel_info,
      fb_post_attachment_description: t.fb_post_attachment_description,
      fb_post_attachment_title: t.fb_post_attachment_title,
      fb_post_caption: t.fb_post_caption
  }
} t . oo leData         function () {
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                       EXHIBIT 21



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       c-      chrome web store                                                                                                          (I   Sign in




    Home   > Extensions > UpVoice




    UP        UpVoice
              Offe red by: UpVoice Team
                                                                                                                               Available on Chrome




                             0   I Social & Communication


                                                         Overview         Reviews           Rel ated




                <                                                                                                                         >




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              Overview                                                                                          Additional Information

              This extension allows you to earn rewards just for being you!                                     ft   Website   @ Report abuse

                                                                                                                Version
              Win up to $75 US in the first year for using our participating sites like you
                                                                                                                2.10.1445
              normally do. Share your opinions and win even more! Our participating
              sites are Facebook, YouTube, Twitter, Amazon, and Linkedln.                                       Updated

              As a qualified UpVoice panelist, you impact the marketing decisions and                           October 12, 2020

              brand strategies of multi-billion dollars corporations, who compete for your                      Size
              attention online. This means that you have a direct influence on the online                       358Ki8
              advertising campaigns of big brands.
                                                                                                                Language
              Install the UpVoice extension and qualify to become a member of our
                                                                                                                English
              panel. It's safe and won't impact your browser performance. As a qualified
                                                                                                                Developer
              member, we will reward you for browsing your social feeds and other
                                                                                                                Contact the deve loper
              participating sites normally. For more details, please visit our terms of
                                                                                                                Privacy Policy
              service at: https://joinupvoice.com/tos.
              Make sure to disable your ad blocker, if you have one, otherwise, we
              cannot collect the ads that target you and therefore we cannot reward you.
              Privacy & data collection
              When you regularly visit Facebook, lnstagram and other participating sites,
              we securely collect the ads that you see and anonymous demographic
              profile data. We never share your personal information with anyone, except
              if needed to send you your rewards.
              We protect your data using the highest security standards and we comply
              with all privacy regulations. For more details, please visit our Privacy Policy
              at: https://joinupvoice.com/privacy and our Data & Privacy FAQ at:
              https ://www.joinupvo ice.comifaq
              If you have any questions , please contact us at: contact@joinupvoice.com.
              For more details please visit www.joinupvoice.com .


                 Read less




                             This extension allows you to earn rewards just for being you!

                                                                    Available on Chrome




Page URL: https://chrome.google.com/webstore/detail/upvoice/igffacinpjkinncgnkmfpiocbmgbeherr
?hl=en-US

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